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                                       EXHIBIT A



                             Revised Proposed Final DIP Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    Amyris, Inc.,1                                                   ) Case No. 23-11131
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )
                                                                       Re: Docket Nos. 19, 54, and 322

                    FINAL ORDER (I) AUTHORIZING THE DEBTORS
            (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE
           CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
     PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
     (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

             Upon the motion (the “DIP Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) in the above captioned chapter 11 cases (collectively, the

“Chapter 11 Cases”) for entry of a final order (this “Final Order”), pursuant to sections 105, 361,

362, 363, 364, 507, and 552 of title 11 of the United States Code (as amended, the “Bankruptcy

Code”), rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and rules 2002-1(b), 4001-2, 9006-1, and 9013 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), seeking entry of this Final Order:

        (i)         authorizing Amyris, Inc., Amyris Clean Beauty, Inc., and Aprinnova, LLC, in
                    their capacity as borrowers (collectively, the “Borrowers”), to obtain postpetition
                    financing, and for each of the other Debtors and such other non-Debtor subsidiaries
                    to guarantee unconditionally (the Debtors and such other non-Debtor subsidiaries,

1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings given to such terms in the Motion or the DIP Credit
    Agreement (as defined herein).
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                   other than the Borrowers as specified below3, and such other non-Debtor
                   subsidiaries as required by the DIP Agent (as defined below) collectively, the
                   “Guarantors”), on a joint and several basis, the Borrowers’ obligations in
                   connection with a senior secured superpriority multiple-draw term loan facility (the
                   “DIP Facility”) in the aggregate principal amount of up to $190 million (the “DIP
                   Loans”), subject to and in accordance with the terms and conditions set forth in that
                   certain Senior Secured Super Priority Debtor In Possession Loan Agreement, dated
                   as of August 9, 2023, attached as Exhibit A to the Second Interim Order (as
                   amended, restated, amended and restated, supplemented, or otherwise modified
                   from time to time, the “DIP Credit Agreement”), by and among the Borrowers, the
                   Guarantors, and Euagore, LLC (together with the other lenders from time to time
                   party thereto, the “DIP Lenders”), and Euagore, LLC, as Administrative Agent (the
                   “DIP Agent” and, together with the DIP Lenders, the “DIP Secured Parties”), and
                   consistent with all other terms and conditions of the DIP Documents (as defined
                   herein) and upon entry of the Final Order, resulting in:

                         a. upon entry of the Second Interim Order, draws prior to entry of the Final
                            Order in the aggregate principal amount of up to $93 million (each an
                            “Initial Borrowing” and collectively the “Initial Borrowings”); and

                         b. upon entry of this Final Order, multiple additional draws (each a
                            “Subsequent Borrowing” and collectively, the “Subsequent Borrowings”)
                            in the aggregate principal amount not to exceed $97 million; provided that
                            (x) each Subsequent Borrowing shall not be in an amount greater than the
                            amounts specified in the Budget (each as defined herein) to be drawn
                            through the date of such Subsequent Borrowing and (y) each Subsequent
                            Borrowing shall be at least twenty-one (21) calendar days apart; and

       (ii)        authorizing the Debtors to execute, deliver and perform under the DIP Credit
                   Agreement, and together with this Final Order, the Interim Orders and all other
                   related agreements, documents, and instruments delivered or executed in
                   connection therewith, including, without limitation, as applicable, security
                   agreements, pledge agreements, control agreements, mortgages, deeds, charges,
                   guaranties, promissory notes, intercompany notes, certificates, intellectual property
                   security agreements, and such other documents that may be reasonably requested
                   by the DIP Agent (collectively, as such may be amended, restated supplemented,
                   or otherwise modified from time to time in accordance with the terms thereof and
                   hereof, the “DIP Documents”), each of which shall be in form and substance
                   satisfactory to the DIP Secured Parties; and to perform such other and further acts

3
    The Guarantors shall be AB Technologies LLC, Amyris Fuels, LLC, Amyris-Olika LLC, Onda Beauty Inc., Upland
    1, LLC, Amyris Eco-Fab LLC, Clean Beauty Collaborative, Inc., Clean Beauty 4U LLC, Clean Beauty 4U Holdings,
    LLC, Amyris Clean Beauty LATAM Ltda., Amyris Biotecnologia do Brasil Ltda., Amyris Europe Trading B.V.,
    Amyris Bio Products Portugal, Unipessoal, Lda., Beauty Labs International Limited, Interfaces Industria e
    Comericio de Cosmeticos Ltda., and Amyris UK Trading Limited.
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                    as may be reasonably necessary, desirable or appropriate in connection with the
                    DIP Documents;

      (iii)         authorizing the Debtors to use the DIP Loans, the proceeds thereof, and the
                    Prepetition Collateral (as defined herein), including Cash Collateral (as defined
                    herein), in accordance with the Budget4 (subject only to Permitted Variances (as
                    defined herein) and in accordance with the DIP Documents) in form and substance
                    acceptable to the DIP Lenders, to provide working capital for, and for other general
                    corporate purposes of, the Debtors, solely in accordance with this Final Order and
                    the DIP Documents;

      (iv)          granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a valid,
                    binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority priming senior security interest in and lien upon the
                    Prepetition Collateral (as defined herein) and all proceeds thereof, subject only to
                    the Carve-Out (as defined herein);

       (v)          granting to the DIP Agent, for itself and for the benefit of the DIP Lenders, a valid,
                    binding, continuing, enforceable, non-avoidable, automatically and properly
                    perfected, first priority senior security interest in and lien upon the Prepetition
                    Unencumbered Collateral (as defined herein) and all proceeds thereof, including all
                    Avoidance Actions Proceeds (as defined herein), subject only to (x) the Carve-Out
                    and (y) other valid and unavoidable liens perfected prior to the Petition Date (or
                    perfected after the Petition Date to the extent permitted by section 546(b) of the
                    Bankruptcy Code) on the terms and conditions set forth herein and in the DIP
                    Documents; provided that with respect to: (i) any unencumbered equity interests in
                    any foreign subsidiaries of the Borrower that are Guarantors; or (ii) any
                    unencumbered intellectual property rights (including, without limitation, licenses,
                    grants, contracts, in lieu of such lien, the DIP Agent may elect5 to take a grant of a
                    non-avoidable, automatically vested, senior and first priority right to, the value of
                    such unencumbered assets, including any proceeds realized on account thereof, or
                    in connection therewith, which value shall not be allocated, distributed, or realized
                    by any party until the payment in full of the DIP Obligations (as defined herein), in
                    each case subject to the Carve Out;



4
    All references in this Final Order (other than in Section 6 hereof (which shall be read in accordance with its terms))
    to the use of DIP Loans, the proceeds thereof, and/or Prepetition Collateral, including Cash Collateral, “in
    accordance with the Budget” or “consistent with the Budget” shall be deemed to also include the following
    parenthetical “(or, in the case of the Committee’s Professionals, in accordance with or consistent with the Committee
    Carve-Out Amount (subject to the Liquidity Condition))” (each of the foregoing capitalized terms, as defined
    below).

5
    For all acts required of the DIP Agent as set forth in this Final Order and the Interim Orders, the DIP Agent acts at
    the direction of the Required Lenders, as defined in the DIP Credit Agreement.

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    (vi)           granting the DIP Agent, for itself and the for the benefit of the DIP Lenders, a valid,
                   binding, continuing, enforceable, non-avoidable, automatically and properly
                   perfected, security interest in and lien upon any Other Encumbered Prepetition
                   Collateral (as defined herein) (Other Encumbered Prepetition Collateral, together
                   with the Prepetition Collateral and the Prepetition Unencumbered Collateral, the
                   “DIP Collateral”) and all proceeds thereof, junior only to the valid, binding,
                   continuing enforceable and non-avoidable liens on the Other Prepetition
                   Encumbered Collateral as of the Petition Date, subject to the Carve-Out

   (vii)           granting to the DIP Agent, for itself and for benefit of the DIP Lenders, allowed
                   superpriority administrative expense claims against each of the Debtors’ estates in
                   respect of all DIP Obligations over any and all administrative expenses of any kind
                   or nature, subject and subordinate only to the payment of the Carve-Out on the
                   terms and conditions set forth herein and in the DIP Documents;

  (viii)           authorizing and directing the Debtors to pay all principal, interest, fees, costs,
                   expenses, and other amounts payable under the DIP Documents as such become
                   due and payable, as provided and in accordance therewith;

    (ix)           authorizing the Debtors, the DIP Secured Parties, and the Foris Prepetition Secured
                   Lenders (as defined herein) to take all commercially reasonable actions to
                   implement and effectuate the terms of this Final Order;

     (x)           authorizing the Debtors to waive (a) their right to surcharge the DIP Collateral (as
                   defined herein) pursuant to section 506(c) of the Bankruptcy Code, (b) their right
                   to surcharge the Prepetition Collateral (as defined herein) pursuant to section 506(c)
                   of the Bankruptcy Code, and (c) any “equities of the case” exception under
                   Bankruptcy Code section 552(b) with respect to the proceeds, products, offspring,
                   or profits of any of the Prepetition Collateral, or the DIP Collateral, as applicable;

    (xi)           authorizing the Debtors to waive the equitable doctrine of “marshaling” and similar
                   doctrines (i) with respect to any of the Prepetition Collateral (including Cash
                   Collateral (as defined herein)) for the benefit of any party other than the Foris
                   Prepetition Secured Lenders (except with respect to the marshaling of Avoidance
                   Action Proceeds as provided in Paragraph 9(a) and (b)), (ii) with respect to the DIP
                   Collateral for the benefit of any party other than the DIP Secured Parties and (iii)
                   with respect to the Adequate Protection (as defined herein) granted to the Foris
                   Prepetition Secured Lenders;

   (xii)           granting Adequate Protection to the Foris Prepetition Secured Lenders to the extent
                   of any diminution in value as of the Petition Date of their interests in the Prepetition
                   Collateral (as defined herein), including, without limitation, any diminution in
                   value resulting from the imposition of the automatic stay under section 362 of the
                   Bankruptcy Code (the “Automatic Stay”), the Debtors’ use, sale, or lease of the
                   Prepetition Collateral (as defined herein), including Cash Collateral and the
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                   priming of its interests in the Prepetition Collateral (including Cash Collateral) as
                   provided in Paragraph 9;

  (xiii)           vacating and modifying the Automatic Stay as set forth herein to the extent
                   necessary to permit the Debtors and their affiliates, the DIP Secured Parties, and
                   the Foris Prepetition Secured Lenders to implement and effectuate the terms and
                   provisions of this Final Order and the DIP Documents, as further set forth herein
                   and therein, respectively; and

  (xiv)            waiving any applicable stay (including under Bankruptcy Rule 6004) and providing
                   for immediate effectiveness of this Final Order.

        The Court having considered the interim relief requested in the DIP Motion; the exhibits

thereto; the (i) the Declaration of Han Kieftenbeld in Support of the Debtors’ Chapter 11 Petitions

and First Day Relief (the “First Day Declaration”), (ii) the Declaration of Lorie Beers in Support

of the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain

Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to

Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,

and (V) Granting Related Relief (the “Beers Declaration”), and (iii) the Declaration of Steve

Fleming in Support of the Motion of the Debtors for Interim and Final Orders (I) Authorizing

Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)

Scheduling a Final Hearing, and (V) Granting Related Relief (the “Fleming Declaration”); and the

other evidence submitted or adduced and the arguments of counsel made at the interim hearing on

August 11, 2023; and the Court having entered an initial interim order on the DIP Motion on

August 11, 2023 [Docket No. 54] (the “First Interim Order”); and the other evidence submitted or

adduced and the arguments of counsel made at a final hearing on September 14, 2023; and the

Court having entered a second interim order on the DIP Motion on September 19, 2023 [Docket

No. 322] (the “Second Interim Order” and together with the First Interim Order, the “Interim
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Orders”); and the other evidence submitted or adduced and the arguments of counsel made at the

final hearing on October 4, 2023 (the “Final Hearing”); and due and sufficient notice of the Final

Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and

all applicable Local Rules and the Interim Orders; and the Final Hearing having been held and

concluded; and all objections, if any, to the interim relief requested in the DIP Motion having been

withdrawn, resolved, or overruled by the Court; and it appearing that approval of the interim relief

requested in the DIP Motion is necessary to avoid immediate and irreparable harm to the Debtors

and their estates pending the Final Hearing, otherwise is fair and reasonable and in the best interests

of the Debtors’ and their estates, and is essential for the continued operations of the Debtors’

business and the preservation of the value of the Debtors’ assets; and it appearing that the Debtors’

entry into the DIP Documents is a sound and prudent exercise of the Debtors’ business judgment;

and after due deliberation and consideration, and good and sufficient cause appearing therefor;

           BASED UPON THE RECORD ESTABLISHED AT THE FINAL HEARING, THE

COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:6

           A.       Petition Date. On August 9, 2023 (the “Petition Date”), each of the Debtors filed a

voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

for the District of Delaware commencing these Chapter 11 Cases.




6
    Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
    fact, pursuant to Bankruptcy Rule 7052.
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        B.         Debtors in Possession. The Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

        C.         Jurisdiction and Venue. The Court has jurisdiction over the Motion, these Chapter

11 Cases, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. Consideration of the Motion constitutes a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). The Court may enter a final order consistent with Article III of

the United States Constitution. Venue for these Chapter 11 Cases and proceedings on the Motion

is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        D.         Committee. On August 27, 2023, the United States Trustee for the District of

Delaware (the “U.S. Trustee”) has formed an official committee of unsecured creditors in these

Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (the “Committee”) [Docket

No. 152].

        E.         Notice. The Final Hearing was held pursuant to Bankruptcy Rule 4001(b)(2) and

(c)(2). As evidenced by the proofs of service filed on the docket for these Chapter 11 Cases,

proper, timely, adequate and sufficient notice of the Final Hearing and the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and the

Interim Orders. No further notice of the Motion or entry of this Final Order shall be required.

        F.         Debtors’ Stipulations. Without prejudice to the rights of parties in interest, other

than the Debtors, but subject to the limitations thereon contained in Paragraphs 11 and 26 in the

Final Order herein, the Debtors stipulate and agree, having considered and reviewed the facts and


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circumstances and record, that the following statements are true and correct (collectively,

Paragraphs F(i) through (vii) below are referred to herein as the “Debtors’ Stipulations”):

                   (i)   Foris Prepetition Secured Loans.

                         (a)    Pursuant to those certain (i) Amended and Restated Loan and

Security Agreement by and among Amyris, Inc. (“Amyris”), as borrower, Amyris Clean Beauty,

Inc. (“Clean Beauty”), Amyris Fuels, LLC (“Amyris Fuels”), and AB Technologies LLC, as

guarantors (“AB Technologies,” and together with Clean Beauty and Amyris Fuels, the

“Subsidiary Guarantors” or “Subsidiary Grantors,” as applicable herein), and Foris Ventures, LLC

(“Foris”), as lender, dated as of October 28, 2019, as amended by that certain Omnibus

Amendment Agreement, dated as of June 5, 2023, and as further amended, restated, supplemented

or otherwise modified from time to time, (ii) Amended and Restated Loan and Security Agreement

by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as lender,

dated as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement,

dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise modified

from time to time, (iii) Bridge Loan and Security Agreement by and among Amyris, as borrower,

the Subsidiary Guarantors, as guarantors, and Perrara Ventures, LLC (“Perrara”), as lender, dated

as of March 10, 2023, as amended by that certain Omnibus Amendment Agreement, dated as of

June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time to

time, (iv) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary

Guarantors, as guarantors, and Anesma Group, LLC (“Anesma”), as lender, dated as of June 5,

2023, (v) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary

Guarantors, as guarantor, and Anjo Ventures, LLC (“Anjo”), as lender, dated June 29, 2023, and

(vi) Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors,
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as guarantors, and Muirisc, LLC (“Muirisc”), and lender, dated as of August 2, 2023 (all of the

foregoing as further amended, supplemented, amended and restated, or otherwise modified prior

to the Petition Date, the “Foris Prepetition Secured Loans,” and collectively with any other

agreements and documents executed or delivered in connection with the Foris Prepetition Secured

Loans, including the Security Agreements (as defined herein), the “Foris Prepetition Secured Loan

Agreements”), and Foris, Perrara, Anesma, Anjo, and Muirisc (collectively, the “Foris Prepetition

Secured Lenders”), provided prepetition term loans to the Company.

                       (b)     As of the Petition Date, Amyris and the Subsidiary Guarantors were

justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders pursuant to the

Foris Prepetition Secured Loan Agreements, without defense, counterclaim, or offset of any kind,

in the aggregate principal amount of at least $296.0 million, plus at least $16.1 million in accrued

and unpaid non-default interest, plus any additional fees, costs, expenses (including any attorneys’,

financial advisors’, and other professionals’ fees and expenses), reimbursement obligations,

indemnification obligations, contingent obligations, and other charges of whatever nature, whether

or not contingent, whenever arising, due, or owing, and all other Obligations (as defined in the

Foris Prepetition Secured Loan Agreements) owing, in each case under or in connection with the

Foris Prepetition Secured Loan Agreements without defense, counterclaim, or offset of any kind

(but subject to liquidation of unliquidated obligations) (collectively, the “Foris Prepetition

Obligations”), which Foris Prepetition Obligations has been guaranteed on a joint and several basis

by each of the Subsidiary Guarantors.

                       (c)     From and after the Petition Date, Amyris and the Subsidiary

Guarantors are justly and lawfully indebted and liable to the Foris Prepetition Secured Lenders

pursuant to the Foris Prepetition Secured Loan Agreements for accrued default interest, plus any
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additional fees, costs, expenses (including any attorneys’, financial advisors’, and other

professionals’ fees and expenses), reimbursement obligations, indemnification obligations,

contingent obligations, and other charges of whatever nature, whether or not contingent, whenever

arising, due, or owing, and all other Obligations owing, in each case, under or in connection with

the Foris Prepetition Secured Loan Agreements after the Petition Date and without defense,

counterclaim, or offset of any kind (but subject to liquidation of unliquidated obligations).

                   (ii)   Foris Prepetition Loan Collateral. In connection with the Foris Secured

Prepetition Loan Agreements, Amyris and the Subsidiary Guarantors, as applicable, entered into

those certain (i) Security Agreement, by and between Amyris, the Subsidiary Grantors, and Foris,

dated as of September 27, 2022; (ii) Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Perrara, dated as of March 10, 2023; (iii) Patent Security Agreement, by and between

Amyris, the Subsidiary Grantors, and Foris, dated as of June 5, 2023; (iv) Trademark Security

Agreement, by and between Amyris, the Subsidiary Grantors, and Foris, dated as of June 5, 2023;

(v) Security Agreement, by and between Amyris, the Subsidiary Grantors, and Anesma, dated as

of June 5, 2023; (vi) Patent Security Agreement, by and between Amyris, the Subsidiary Grantors,

and Anesma, dated as of June 5, 2023; (vii) Trademark Security Agreement, by and between

Amyris, the Subsidiary Grantors, and Anesma, dated as of June 5, 2023; (viii) Patent Security

Agreement by and between Amyris, the Subsidiary Grantors, and Perrara, dated as of June 5, 2023;

(ix) Trademark Security Agreement by and between Amyris, the Subsidiary Grantors, and Perrara,

dated as of June 5, 2023; (x) Security Agreement by and between Amyris, the Subsidiary Grantors,

and Anjo dated as of June 29, 2023; (xi) Patent Security Agreement, by and between Amyris, the

Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xii) Trademark Security Agreement,

by and between Amyris, the Subsidiary Grantors, and Anjo, dated as of June 29, 2023; (xiii)
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Security Agreement by and between Amyris, the Subsidiary Grantors, and Muirisc, dated as of

August 2, 2023; (xiv) Trademark Security Agreement, by and between Amyris, the Subsidiary

Grantors, and Muirisc, dated as of August 2, 2023; (xv) Patent Security Agreement, by and

between Amyris, the Subsidiary Grantors, and Muirisc, dated as of August 2, 2023; and (xvi)

Copyright Security Agreement, by and between Amyris, the Subsidiary Grantors, and Muirisc,

dated as of August 2, 2023 (all of the foregoing as further amended, supplemented, amended and

restated, or otherwise modified from time to time, the “Security Agreements”). Pursuant to the

Foris Prepetition Secured Loan Agreements, the Foris Prepetition Obligations are secured by valid,

binding, perfected first priority security interests in and liens (the “Foris Liens”) on the

“Collateral,” as defined in the Security Agreements (the “Prepetition Collateral”).

                   (iii)   Cash Collateral. Any and all of the Debtors’ cash, including the Debtors’

cash and other amounts on deposit or maintained in any account or accounts by the Debtors,

including any amounts generated by the collection of accounts receivable or other disposition of

the Prepetition Collateral existing as of the Petition Date, and the proceeds of any of the foregoing

is the Foris Prepetition Secured Lenders’ cash collateral within the meaning of Bankruptcy Code

section 363(a) (the “Cash Collateral”).

                   (iv)    Bank Accounts. The Debtors acknowledge and agree that as of the Petition

Date, none of the Debtors has either opened or maintains any bank accounts other than the accounts

listed in the exhibit attached to any order authorizing the Debtors to continue to use the Debtors’

existing cash management system (the “Cash Management Order”).

                   (v)     Validity, Perfection, and Priority of Foris Liens and Prepetition

Obligations. Each of the Debtors acknowledges and agrees that: (a) as of the Petition Date, the

Foris Liens are valid, binding, enforceable, non-avoidable, and properly perfected liens on and
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security interests in the Prepetition Collateral and were granted to, or for the benefit of, the Foris

Prepetition Secured Lenders for fair consideration and reasonably equivalent value; (b) as of the

Petition Date, the Foris Liens are subject and/or subordinate only to valid, perfected, and

unavoidable liens and security interests existing as of the Petition Date that are senior in priority

to the Foris Liens as permitted by the terms of the Foris Prepetition Secured Loan Agreements; (c)

the Foris Prepetition Obligations constitute legal, valid, binding, and non-avoidable obligations of

Amyris and the Subsidiary Guarantors enforceable in accordance with the terms of the applicable

Foris Prepetition Secured Loan Agreements; (d) no offsets, challenges, objections, defenses,

claims, or counterclaims of any kind or nature to any of the Foris Liens or Foris Prepetition

Obligations exist, and no portion of the Foris Liens or Foris Prepetition Obligations is subject to

any challenge or defense including impairment, set-off, right of recoupment, avoidance,

attachment, disallowance, disgorgement, reduction, recharacterization, recovery, subordination

(whether equitable or otherwise), attack, offset, defense, counterclaims, cross-claims, or “claim”

(as defined in the Bankruptcy Code), pursuant to the Bankruptcy Code or applicable

nonbankruptcy law; (e) the Debtors and their estates have no claims, objections, challenges, causes

of actions, recoupments, counterclaims, cross-claims, setoff rights, and/or choses in action,

including “lender liability” causes of action, derivative claims, or avoidance claims under chapter

5 of the Bankruptcy Code, whether arising under applicable state law or federal law (including any

recharacterization, subordination, avoidance, disgorgement, recovery, or other claims arising

under or pursuant to sections 105, 510, or 541 through 553 of the Bankruptcy Code), against the

Foris Prepetition Secured Lenders, or any of their respective affiliates, agents, representatives,

attorneys, advisors, professionals, officers, directors, and employees arising out of, based upon, or

related to their loans under the Foris Prepetition Secured Loan Agreements, the Foris Prepetition
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Obligations, or the Foris Liens; and (f) the Debtors waive, discharge, and release any right to

challenge any of the Foris Prepetition Secured Loans, the amount, allowance, character and

priority of the Debtors’ Obligations under the Foris Prepetition Secured Loans, and the validity,

binding, legal, enforceability, allowance, amount, characterization, extent and priority as to the

Foris Liens securing the Foris Prepetition Secured Loans.

                   (vi)    No Claims or Causes of Action. No claims or causes of action held by the

Debtors or their estates exist against, or with respect to, the Foris Prepetition Secured Lenders, the

Foris Prepetition Secured Loans, the Foris Prepetition Secured Loan Agreements, or under any

agreements, documents, facts or circumstances, by and among, or related to, the Debtors and the

Foris Prepetition Secured Lenders.

                   (vii)   Releases. Effective as of the date of entry of the First Interim Order, subject

solely to the rights and limitations set forth in Paragraphs 11 and 26 herein, each of the Debtors

and the Debtors’ estates, on its and their own behalf, on behalf of its and their respective past,

present and future predecessors, heirs, successors, subsidiaries, and assigns, hereby absolutely,

unconditionally and irrevocably releases and forever discharges and acquits the Foris Prepetition

Secured Lenders, the DIP Secured Parties, and each of their respective Representatives (as defined

herein), in each case solely in their respective capacities as such and not in any other capacities

(collectively, the “Released Parties”), from any and all (a) obligations and liabilities to the

Debtors (and their successors and assigns) and (b) claims, counterclaims, demands, defenses,

offsets, debts, accounts, contracts, liabilities, actions and causes of action arising prior to the date

of the First Interim Order of any kind, nature or description, whether matured or unmatured,

known or unknown, asserted or unasserted, foreseen or unforeseen, accrued or unaccrued,

suspected or unsuspected, liquidated or unliquidated, pending or threatened, arising in law or
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equity, upon contract or tort or under any state or federal law or otherwise, in each case arising

out of or related to (as applicable) the Foris Prepetition Secured Loan Agreements, the DIP

Documents, the obligations owing and the financial obligations made thereunder, the

negotiation thereof and of the transactions and agreements reflected thereby, and the obligations

and financial obligations made thereunder, in each case that the Debtors at any time had, now

have or may have, or that their predecessors, successors or assigns at any time had or hereafter

can or may have against any of the Released Parties for or by reason of any act, omission, matter,

cause or thing whatsoever arising at any time on or prior to the date of the First Interim Order.

For the avoidance of doubt, nothing in this release shall relieve the DIP Lenders or the Debtors

of their Obligations under the DIP Documents from and after the date of the First Interim Order.

        G.         Corporate Authority. Each Debtor has all requisite corporate power and authority

to execute and deliver the DIP Documents to which it is a party and to perform its obligations

thereunder.

        H.         Findings Regarding the DIP Facility and Use of Cash Collateral.

                   (i)    The Debtors have an immediate and critical need to obtain the DIP Facility

and to use Cash Collateral (solely to the extent consistent with the Budget (subject to Permitted

Variances as set forth in this Final Order and the DIP Documents)) to, among other things, (a)

permit the orderly continuation of their businesses; (b) maintain business relationships with

vendors, suppliers, and customers; (c) make payroll; (d) fund expenses of the Chapter 11 Cases;

and (e) satisfy other working capital, operational, and general corporate needs. The Debtors do

not have sufficient sources of working capital and financing to operate their businesses in the

ordinary course throughout the Chapter 11 Cases without access to the DIP Facility and authorized

use of Cash Collateral. In the absence of the DIP Facility and the use of Cash Collateral, the
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Debtors’ business and estates would suffer immediate and irreparable harm. Access to the DIP

Facility will provide the Debtors with sufficient working capital and liquidity to operate during

these Chapter 11 Cases and is vital to the preservation and maintenance of the Debtors’ business

and assets.

                   (ii)    The Debtors are unable to obtain financing on more favorable terms from

sources other than the DIP Lenders under the DIP Documents and are unable to obtain adequate

unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense. The Debtors also are unable to obtain secured credit allowable under sections 364(c)(1),

364(c)(2), and 364(c)(3) of the Bankruptcy Code without granting to the DIP Secured Parties, the

DIP Liens and the DIP Superpriority Claims (each as defined herein), in each case subject to the

Carve-Out to the extent set forth herein, under the terms and conditions set forth in this Final Order

and the DIP Documents.

                   (iii)   As a condition to entry into the DIP Documents, the extension of credit

under the DIP Facility, and authorization to use Cash Collateral, the Debtors, the DIP Secured

Parties, and the Foris Secured Prepetition Lenders have agreed that as of and commencing on the

date of the Final Hearing, the Debtors shall utilize the proceeds of the DIP Collateral in accordance

with this Final Order.

                   (iv)    The DIP Facility has been negotiated in good faith and at arm’s length

among the Debtors and the DIP Secured Parties, and all of the Debtors’ obligations and

indebtedness arising under, in respect of, or in connection with the DIP Facility and the DIP

Documents including, without limitation, all loans made to and guarantees issued by the Debtors

pursuant to the DIP Documents and all other obligations under the DIP Documents (collectively,


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the “DIP Obligations”)7 shall be deemed to have been extended by the DIP Secured Parties in good

faith as that term is used in section 364(e) of the Bankruptcy Code and in express reliance upon

the protections offered by section 364(e) of the Bankruptcy Code. The DIP Obligations, the DIP

Liens, and the DIP Superpriority Claims shall be entitled to the full protection of section 364(e) of

the Bankruptcy Code in the event that this Final Order or any provision hereof is vacated, reversed,

or modified on appeal or otherwise, and any liens or claims granted to, or payments made to, or

payments made to, the DIP Secured Parties hereunder arising prior to the effective date of any

such vacatur, reversal, or modification of this Final Order shall be governed in all respects by the

original provisions of this Final Order, including entitlement to all rights, remedies, privileges, and

benefits granted herein.

                    (v)       Pursuant to the Interim Orders, the Debtors prepared and delivered to the

DIP Secured Parties the initial budget (the “Initial Budget”) covering the first 60 days of these

Chapter 11 Cases. The Initial Budget reflected, among other things, the anticipated sources and

uses of cash for each calendar week, in form and substance satisfactory to the DIP Secured Parties.

The Initial Budget may be modified, amended, and updated from time to time in accordance with

the DIP Documents, and once approved by the DIP Secured Parties, shall supplement and replace

the Initial Budget. The Debtors believe that the Initial Budget is reasonable under the facts and

circumstances of these Chapter 11 Cases. The DIP Secured Parties are relying, in part, upon the


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    Notwithstanding anything to the contrary in this Final Order, the Interim Orders, or the DIP Credit Agreement, Clean
    Beauty Collaborative, Inc.’s and Clean Beauty 4U LLC’s (each a “Clean Beauty Subsidiary” and, collectively, the
    “Clean Beauty Subsidiaries”) DIP Obligations shall not exceed the principal amount of all Advances to each Clean
    Beauty Subsidiary, together with all interest on such Advances and all other obligations and liabilities of each Clean
    Beauty Subsidiary under this Final Order, the Interim Orders, or the DIP Credit Agreement related to such Advances;
    provided, further the maximum amount recoverable pursuant to the DIP Liens on each Clean Beauty Subsidiary’s
    Collateral granted under this Final Order, the Interim Orders, or the DIP Credit Agreement shall not exceed the such
    Clean Beauty Subsidiary’s DIP Obligations. Capitalized terms used in this footnote but not defined in this Final
    Order shall have the meanings given to such terms in the DIP Credit Agreement.
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Debtors’ agreement to comply with the Budget, the DIP Documents, the Interim Orders, and this

Final Order in determining to enter into DIP Facility as provided for in this Final Order.

                   (vi)    The Foris Prepetition Secured Lenders are entitled to the rights and benefits

of section 552(b) of the Bankruptcy Code and the “equities of the case” exception under section

552(b) of the Bankruptcy Code shall not apply to the Foris Prepetition Secured Lenders with

respect to proceeds, product, offspring, or profits with respect to any of the Prepetition Collateral.

                   (vii)   In light of the financing made available under the DIP Facility to the

Debtors to fund the ongoing working capital requirements to operate and maintain their businesses

in the ordinary course and preserve value, the DIP Secured Parties and the Foris Prepetition

Secured Lenders are entitled to the benefit of a waiver of the rights of the Debtors under section

506(c) of the Bankruptcy Code and the Debtors waive any right to surcharge the DIP Collateral,

the Debtors waive any rights to surcharge the Prepetition Collateral, in each case, pursuant to

section 506(c) of the Bankruptcy Code.

                   (viii) The DIP Secured Parties and the Foris Prepetition Secured Lenders are

entitled to the rights and benefits of section 363(k) of the Bankruptcy Code and the DIP Secured

Parties and the Foris Prepetition Secured Lenders shall be entitled to credit bid their respective

secured claims in connection with any sale of the DIP Collateral.

        I.         Good Cause Shown; Best Interest. Good cause has been shown for entry of this

Final Order, and entry of this Final Order is in the best interests of the Debtors’ respective estates

and creditors as its implementation will, among other things, allow for the continued operation of

the Debtors’ existing business and enhance the value of the Debtors’ estates and assets.

        J.         Immediate Entry. Sufficient cause exists for immediate entry of this Final Order

pursuant to Bankruptcy Rules 4001(b)(2), (c)(2), and 6003. Absent granting the relief set forth in
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this Final Order, the Debtors’ estates will be immediately and irreparably harmed as they will have

no ability to pay employees or suppliers, honor contractual obligations, or otherwise maintain

operations and thus would be forced to liquidate. Entry into the DIP Facility and the use of

Prepetition Collateral (including Cash Collateral), in accordance with this Final Order and the DIP

Documents are therefore in the best interests of the Debtors’ estates and consistent with the

Debtors’ sound exercise of their fiduciary duties.

        Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and after due consideration and good and sufficient cause

appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.         DIP Facility Approved on Final Basis. The DIP Motion is granted as set forth

herein on a final basis, and the use of Cash Collateral on an interim basis is authorized, subject to

the terms of this Final Order.

        2.         Objections Overruled. Any objections, reservations of rights, or other statements

with respect to entry of the Final Order, to the extent not withdrawn or resolved, are overruled on

the merits. This Final Order shall become effective immediately upon its entry.

        3.         Authorization of the DIP Facility and the DIP Documents.

                   (a)    The Debtors are hereby immediately authorized and empowered to execute,

deliver, enter into, and perform all of their obligations under the DIP Documents, and such

additional documents, instruments, certificates and agreements as may be reasonably required or

requested by the DIP Secured Parties to implement the terms or effectuate the purposes of this

Final Order and the DIP Documents. In addition, the Debtors are authorized and empowered to

cause the non-Debtor subsidiaries to enter into any DIP Documents. To the extent not entered into
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as of the date hereof, the Debtors and the DIP Secured Parties shall negotiate the DIP Documents

in good faith, and in all respects such DIP Documents shall be, subject to the terms of this Final

Order, consistent with the terms of the DIP Credit Agreement and otherwise acceptable to the DIP

Secured Parties. Upon entry of this Final Order, the Final Order, the DIP Credit Agreement, and

other DIP Documents shall govern and control the DIP Facility. Upon entry of this Final Order

and until execution and delivery of all DIP Documents required by the DIP Secured Parties, the

Debtors and the DIP Secured Parties shall be bound by this Final Order and all executed DIP

Documents shall govern and control the DIP Facility. The DIP Secured Parties are hereby

authorized to execute and enter into its respective obligations under the DIP Documents, subject

to the terms and conditions set forth therein, and in the Interim Orders and this Final Order. Upon

execution and delivery thereof, the DIP Documents shall constitute valid and binding obligations

of the Debtors enforceable in accordance with their terms. To the extent there exists any conflict

among the terms and conditions of the DIP Motion, the DIP Documents, the Interim Orders, and

this Final Order, the terms and conditions of this Final Order shall govern and control. To the

extent there is a conflict between the terms and conditions of the DIP Motion and the DIP

Documents, the terms and conditions of the DIP Documents shall govern.

                   (b)   Upon entry of this Final Order, the Borrowers are hereby authorized to

borrow, and the Guarantors are hereby authorized to guaranty, borrowings up to an aggregate

principal amount of the Initial Borrowings and Subsequent Borrowings in DIP Loans, subject to

the terms of the DIP Credit Agreement and in accordance with this Final Order.

                   (c)   In accordance with the terms of this Final Order, the Interim Order and the

DIP Documents, proceeds of the DIP Loans shall be used solely for the purposes permitted under

the DIP Documents and this Final Order, the Interim Orders, and in accordance with the Budget
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(subject to Permitted Variances as set forth in this Final Order and the DIP Documents).

                   (d)   In furtherance of the foregoing and without further approval of this Court,

each Debtor is authorized, and the Automatic Stay imposed by section 362 of the Bankruptcy Code

is hereby lifted to the extent necessary to allow each Debtor, to perform all acts and to make,

execute, and deliver all instruments and documents (including, without limitation, the DIP Credit

Agreement, any security and pledge agreement, and any mortgage to the extent contemplated

thereby, or the DIP Credit Agreement), and, subject to the Carve-Out, to pay on the DIP

Termination Date (as defined in the DIP Credit Agreement) all fees (including all amounts owed

to the DIP Lenders and the DIP Agent under the DIP Documents), that may be reasonably required

or necessary for the Debtors’ performance of their obligations under the DIP Facility including,

without limitation:

                         (1)    the execution, delivery, and performance of the DIP Documents,

                         including, without limitation, the DIP Credit Agreement, any security and

                         pledge agreement, and any mortgage to the extent contemplated thereby;

                         (2)    the execution, delivery, and performance of one or more

                         amendments, waivers, consents, or other modifications to and under the DIP

                         Documents (in each case in accordance with the terms of the applicable DIP

                         Documents and in such form as the Debtors and the DIP Secured Parties

                         may agree), it being understood that no further approval of the Court shall

                         be required for amendments, waivers, consents, or other modifications to

                         and under the DIP Documents or the DIP Obligations that do not shorten

                         the maturity of the extensions of credit thereunder or modify the

                         commitments or the rate of interest or other amounts payable thereunder;
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                         provided that counsel to the Committee shall be promptly provided with a

                         copy (which shall be provided through electronic mail) of any amendment,

                         waiver, consent, or other modification; provided, further that counsel to the

                         Committee shall be entitled to five (5) business days’ advance notice of an

                         amendment, modification, or supplement to the DIP Documents that

                         materially or adversely affects the rights of the Committee or unsecured

                         creditors under the DIP Documents (but not any waiver provided by the DIP

                         Secured Parties), and the Committee shall have an opportunity to object in

                         writing after which approval of the Court (which may be sought on an

                         expedited basis) will be necessary to effectuate any amendment,

                         modification, or supplement to the DIP Documents that materially or

                         adversely affects the rights of the Committee or unsecured creditors under

                         the DIP Documents;

                         (3)    the non-refundable payment as of the DIP Termination Date to each

                         of and/or on behalf of the DIP Secured Parties, as applicable, of the fees

                         referred to in the DIP Documents, including all fees and other amounts

                         owed to the DIP Agent and the DIP Lenders; and

                         (4)    the performance of all other acts required under or in connection

                         with the DIP Documents.

                   (e)   Upon entry of this Final Order, the DIP Lenders shall have the right to sell,

assign, or otherwise transfer any interest in the DIP Facility, or any of the obligations thereunder,

or any portion thereof, and to syndicate the DIP Loans (or any portion thereof), to any person or

persons selected by each DIP Lender in its sole discretion and subject to the terms of the DIP
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Credit Agreement.

                   (f)   Without the prior written consent of the DIP Lender, the Borrowers shall

not sell, transfer, lease, encumber or otherwise dispose of any portion of the DIP Collateral or

interest in the DIP Facility, except as may be expressly permitted by the DIP Documents and this

Final Order.

                   (g)   The Guarantors hereby are authorized and directed to jointly, severally, and

unconditionally guarantee, and upon entry of this Final Order shall be deemed to have guaranteed,

in full, all of the DIP Obligations of the Borrowers.

                   (h)   DIP Obligations. Upon entry of the First Interim Order and the execution

of the DIP Documents, the DIP Obligations and the DIP Liens shall constitute valid, binding, and

non-avoidable obligations of the Borrowers and Guarantors, enforceable against the Borrowers or

Guarantors or their estates in accordance with the terms of the DIP Documents and this Final

Order, and any successors thereto, including any trustee appointed in the Chapter 11 Cases, or in

any case under chapter 7 of the Bankruptcy Code upon conversion of any of the Chapter 11 Cases,

or in any other proceedings superseding or related to any of the foregoing (collectively, the

“Successor Cases”). Upon execution and delivery of the DIP Documents, the DIP Obligations

will include all loans and any other indebtedness or obligations, contingent or absolute, which may

now or from time to time be owing by any of the Borrowers or Guarantors to any of the DIP

Secured Parties under, or secured by, the DIP Documents, or the Interim Orders or this Final Order,

including all principal, interest, costs, fees, expenses, premiums, indemnities and other amounts

under the DIP Documents. No obligation, payment, transfer, or grant of security under the DIP

Credit Agreement, the other DIP Documents, the Interim Orders, or this Final Order to the DIP

Secured Parties shall be stayed, restrained, voidable, avoidable, or recoverable under the
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Bankruptcy Code or under any applicable law (including without limitation, under sections 502(d),

548, or 549 of the Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer

Act, Uniform Fraudulent Conveyance Act, or similar statute or common law), or subject to any

defense, reduction, setoff, recoupment, or counterclaim. All DIP Obligations shall be allowed

claims against the Debtors’ estates without the need to file a proof of claim.

        4.         Budget and Variance Reporting.

                   (a)   The Initial Budget, covering the first 60 days of these Chapter 11 Cases,

was approved pursuant to the Interim Orders. An updated plan scenario Budget (the “Plan

Budget”) and an updated sale scenario budget (the “Sale Budget,” and together with the Plan

Budget, and each subsequent approved Plan Budget or approved Sale Budget, shall constitute,

without duplication, the “Budget”) annexed hereto as Exhibit A-1 and A-2, respectively, are

hereby approved. The Plan Budget, or any updated and approved Plan Budget, shall be the

controlling budget in these Chapter 11 Cases after entry of this Final Order until a Sale Toggle

Event Notice is issued; provided that if a Sale Toggle Event Notice is issued, the Sale Budget, or

any updated and approved Sale Budget shall be the controlling budget in these Chapter 11 Cases.

Any modification to, or amendment or update to the Budget (and any other subsequent updated

Budget) shall be in form and substance acceptable to and approved in writing (email being

sufficient) by the DIP Agent in its sole discretion. A copy of any modification to, or amendment

or update to the Budget shall be provided to the Committee. There shall be no changes to the line

items in the Budget for the fees and expenses of the Committee Professionals (as defined herein)

without the express written consent (email being sufficient) of counsel to the Committee.

                   (b)   By 5:00 p.m. Pacific Time on the date that is two weeks after the date the

Final Order approving the updated Budget is entered (or such date as mutually agreed in writing
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(email being sufficient) by the Debtors and DIP Secured Parties), and every two weeks thereafter,

the Debtors shall prepare and provide the DIP Secured Parties with an updated Budget. The DIP

Agent, in its reasonable discretion, shall have the right to approve or object to any such updated

Budget by providing the Borrowers specific notice thereof within three (3) business days after the

delivery by the Borrowers of any such update or amendment (“Updated Budget Notice Deadline”).

To the extent the DIP Agent objects to the updated Budget by the Updated Budget Notice Deadline,

the then existing Budget shall continue to constitute the applicable Budget until such time as an

update or amendment is approved by the DIP Agent. Once an updated Budget has been approved

by the DIP Agent, the Debtors shall promptly share such updated Budget with the Committee.

                        (c)     By 5:00 p.m. Pacific Time on the first Wednesday after entry of this

Final Order and every Wednesday thereafter, the Debtors shall deliver to the DIP Agent and the

Committee a Budget variance report and reconciliation (the “Approved Budget Variance Report”)

utilizing the Budget then in effect (and to the extent the applicable Measuring Period so requires,

utilizing the immediately prior Budget previously in effect). The Approved Budget Variance

Report shall compare on a line item by line item basis: (x) total receipts for such period to total

receipts for such period as set forth in the Budget on a weekly and cumulative basis; (y) total

disbursements for such period to total disbursements for such period as set forth in the Budget on

a weekly and cumulative basis; together with a statement certifying compliance with the Permitted

Variances (as defined herein) for such period (each a “Measuring Period”) and explaining in

reasonable detail any Material Variance (as defined herein) (each such report, a “Variance Report,”

which shall be in a form satisfactory to the DIP Agent). For purposes of each Measuring Period,

the Borrowers shall calculate on a line item by line item basis: (x) the numerical difference between

total receipts for such period to total receipts for such period as set forth in the Budget for the then
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applicable week and on a cumulative basis (the “Receipts Variance”), and the percentage such

Receipts Variance (as an absolute amount) is of the applicable week and cumulative basis budgeted

amount for receipts for such Measuring Period (the “Receipts Variance Percentage”) and (y) the

numerical amount by which total disbursements for such Measuring Period are greater than total

disbursements, respectively, on a line item by line item basis, for such Measuring Period as set out

in the Budget for the then applicable week and on a cumulative basis for such Measuring Period

(the “Disbursements Variance”), and the percentage such Disbursements Variance (as an absolute

amount) is of the applicable week and cumulative budgeted amount for disbursements for such

Measuring Period (the “Disbursements Variance Percentage”). For purposes of this Final Order,

(w) “receipts” shall not include any Initial Borrowing or Subsequent Borrowing under the DIP

Facility or any proceeds from the sale of DIP Collateral; (x) the calculation of the Disbursements

Variance shall exclude any amounts in the Budget related to professional fees for the Debtors and

the Committee, which, at all times, for purposes of any Initial Borrowing or Subsequent Borrowing

under the DIP Facility, shall not exceed amounts set forth in the then approved Budget, (y) a

“Material Variance” shall mean on a line item by line item basis with respect to each Measuring

Period either (i) a Receipts Variance Percentage greater than 15% or (ii) a Disbursements Variance

Percentage greater than 10%, and (z) “Permitted Variance” shall mean on a line item by line item

basis with respect to each Measuring Period: (i) if the Receipts Variance is a negative number, the

Receipts Variance Percentage shall not be greater than 25% measured on a four (4) week

cumulative basis and (ii) if the Disbursements Variance is a positive number, the Disbursements

Variance Percentage shall not be greater than (A) 20% measured on a two (2) week and cumulative

basis and (B) 15% measured on a four (4) week and cumulative basis. For purposes hereof, “line

item by line item” shall mean each line of the Budget (excluding any amounts in the Budget related
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to professional fees for the Debtors and the Committee); provided, however, for line items labeled

“Other AP Disbursements”, “InterCo disbursements for Goods”, and “InterCo Loan”, “line item

by line item” shall be with references to the line items set forth in the supporting schedules

provided to the DIP Secured Parties and the Committee in connection with the Budget.

        5.         Access to Records. The Debtors shall provide the advisors to the DIP Secured

Parties with all reporting and other information required to be provided to the DIP Agent or DIP

Lenders under the DIP Documents. Any reporting and other information provided pursuant to this

Paragraph 5 shall also be contemporaneously provided (or as contemporaneous as is reasonable

under the circumstances) to advisors to the Committee; provided that all such reporting may be

shared by the Committee’s advisors with the members of the Committee (subject to any applicable

confidentiality agreements or arrangements) unless such reporting provided to the Committee’s

advisors is specifically classified as for “professional eyes only.” In addition to, and without

limiting, whatever rights to access the DIP Secured Parties have under the DIP Documents, upon

reasonable notice to Debtors’ counsel (email being sufficient), the Debtors shall permit

representatives, agents, and employees of the DIP Secured Parties to have reasonable access to (i)

inspect the Debtors’ assets, and (ii) all information (including historical information and the

Debtors’ books and records) and personnel, including regularly scheduled meetings as mutually

agreed with senior management of the Debtors and other company advisors (during normal

business hours), and the DIP Secured Parties shall be provided with access to all information they

shall reasonably request, excluding any information for which confidentiality is owed to third

parties, information subject to attorney client or similar privilege, or where such disclosure would

not be permitted by any applicable requirements of law.

        6.         Carve-Out.
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                   (a)   Priority of Carve-Out. Subject to the terms and conditions contained in this

Paragraph 6, each of the DIP Liens, DIP Superpriority Claims, Foris Liens, Foris Prepetition

Obligations, Adequate Protection Liens, and Adequate Protection Superpriority Claims shall be

subject and subordinate to payment of the Carve-Out. The Carve-Out shall have such priority over

all assets of the Debtors, including any DIP Collateral, Prepetition Collateral, and any funds in the

account into which the DIP Loans are funded. The Carve-Out shall not reduce or affect in any

respect the obligations owing to the DIP Secured Parties or the Foris Prepetition Secured Lenders.

                   (b)   Definition of Carve-Out. As used in this Final Order, the “Carve-Out”

means the sum of (i) all fees required to be paid to the Clerk of the Court and to the U.S. Trustee

under section 1930(a) of title 28 of the United States Code plus interest at the statutory rate

(without regard to the notice set forth in (iv) below); (ii) all reasonable fees and expenses up to

$100,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the

notice set forth in (iii) below); (iii) all obligations due and owing under any key employee incentive

plan and retention plan consistent with the Budget, consented to by the DIP Agent, and approved

by the Bankruptcy Court; (iv) to the extent allowed at any time, whether by interim order,

procedural order, or otherwise, and whether allowed before or after delivery of a Trigger Notice,

all unpaid fees and expenses (the “Allowed Professional Fees”) incurred by (x) persons or firms

retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code, including

any Transaction Fee consistent with the engagement letter entered into between the Debtors and

the Debtors’ investment banker, Intrepid Investment Bankers LLC, and approved by the

Bankruptcy Court with the support of the DIP Agent (the “Debtors’ Professionals”), (y) White &

Case LLP, Potter Anderson & Corroon LLP, and FTI Consulting, Inc., as advisors to the

Committee, as retained pursuant to sections 328, 330 and/or 1103 of the Bankruptcy Code (the
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“Committee’s Professionals”8 and, together with the Debtors’ Professionals, the “Professional

Persons”), and (z) persons or firms retained by the ad hoc group of the holders of the 1.50%

Convertible Senior Notes due 2026 pursuant to the Amended Order Authorizing the Debtors to

Assume and/or Enter Into Reimbursement Agreements with Professionals for the Ad Hoc

Noteholder Group (the “Noteholder Group Professionals’ Order” and the professional persons’

thereunder, the “Ad Hoc Noteholder Group’s Professionals”), subject to the Noteholder Group

Professional Cap as defined in the Noteholder Group Professionals’ Order and all other terms and

conditions of the Noteholder Group Professionals’ Order, and subject to the then Budget for each

Professional Person as approved by the DIP Agent for the period of time from the Petition Date to

the earlier of the date of a Trigger Notice or the occurrence of any other DIP Termination Date;

provided that with respect to clause (iv) of this Paragraph 6(b), notwithstanding the fact that the

Budget for the Committee’s Professionals currently equals $3.3 million (the “Committee Budget

Amount”), the Carve-Out with respect to the Committee’s Professionals shall be $7.2 million (the

“Committee Carve-Out Amount”); and (v) Allowed Professional Fees of the Professional Persons

in an amount not to exceed $750,000 incurred after the earlier of delivery of a Trigger Notice or

the occurrence of any other DIP Termination Date (other than pursuant to clause (ii) of the

definition of “DIP Termination Date” in the DIP Credit Agreement) (this clause (v), the “Carve-



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    The Committee intends to engage Jefferies & Company (“Jefferies”) as investment banker under section 1103 of
    the Bankruptcy Code. The Debtors’, the DIP Lenders’ and the Foris Prepetition Secured Parties’ rights to object
    to the retention of Jefferies and any fees or expenses sought by Jefferies in connection with its proposed
    engagement by the Committee are reserved and preserved in all respects. Nothing in this Final Order shall limit,
    modify, or in any way affect any of the Committee’s rights to seek to modify the Carve Out, or to seek payment
    (under the Carve Out or otherwise), with respect to fees and expenses of Jefferies to the extent the Committee is
    authorized to retain Jefferies in these Chapter 11 Cases and any such fees and expenses of Jefferies are authorized
    or approved by the Court, and such rights of the Committee are fully reserved and preserved in all respects, and
    the rights of the Debtors’, the DIP Lenders’ and the Foris Prepetition Secured Parties’ to object to any such
    modification, authorization, approval or payment are fully reserved and preserved in all respects.
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Out Cap”), less the amount of any prepetition retainers received by such Professional Persons and

not previously returned or applied to Allowed Professionals Fees; provided, however, nothing

herein shall be construed to impair any party’s ability to object to court approval of the fees,

expenses, reimbursement of expenses or compensation of the Debtors’ Professionals, the

Committees’ Professionals, and Ad Hoc Noteholder Group’s Professionals. For purposes of this

Paragraph 6, “Trigger Notice” shall mean a written notice delivered by the DIP Agent to the U.S.

Trustee and counsel to the Debtors and Committee describing the Event of Default that is alleged

to continue under the DIP Documents (or after the payment in full of the DIP Obligations,

delivered by the Prepetition Lenders under the Foris Prepetition Secured Loan Agreements

describing the reason for termination of the use of Cash Collateral).

                   (c)   Carve-Out Account. On the day on which a Trigger Notice is given by the

DIP Agent or on the DIP Termination Date, and prior to (and not conditioned upon, or subject to

any delay on account of) the payment to any of the DIP Agent, DIP Lenders or the Foris Prepetition

Secured Lenders on account of the DIP Obligations, the Foris Prepetition Obligations, any

Adequate Protection Obligations (as defined herein), claims or liens, or otherwise, the Debtors

shall immediately, and be authorized and required to, deposit, as soon as reasonably practicable,

in a non-interest bearing trust fund account of the Debtors’ general bankruptcy counsel for the

benefit of Professional Persons not subject to the control of the DIP Agent, DIP Lenders or the

Foris Prepetition Secured Lenders (the “Carve-Out Account”), an amount equal to the Carve-Out

Cap. If any amounts remain in the Carve-Out Account after payment of Professional Persons in

accordance with the Carve-Out (subject to the Budget or, in the case of the Committee’s

Professionals, the Committee Carve-Out Amount (subject to the Liquidity Condition (as defined

below))), such amounts shall be returned to the DIP Agent and shall be subject to the DIP Liens
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and Adequate Protection Liens; provided that to the extent the DIP Loans are indefeasibly paid in

full at the time such amounts are to be returned, such amounts shall be returned to the Foris

Prepetition Secured Lenders. Prior to the date of delivery of a Trigger Notice or the occurrence of

the DIP Termination Date, the Debtors shall be authorized to make weekly deposits into the Carve-

Out Account in accordance with the Budget (which, for the avoidance of doubt, in the case of the

Committee Professionals, is the Committee Budget Amount, subject to clause (e) below). Funds

which are on deposit in the Carve-Out Account shall be available only to satisfy obligations

benefitting from the Carve-Out, and the DIP Agent, DIP Lenders and the Foris Prepetition Secured

Lenders, each on behalf of itself and the relevant secured parties, (i) shall not sweep or foreclose

on cash of the Debtors necessary to fund the Carve-Out Account, (ii) shall subordinate their

security interests and liens in the Carve-Out Account to the payment of the Allowed Professional

Fees in accordance with the Carve-Out and the Carve-Out Cap, and shall only have a security

interest upon, and shall only have a right of enforcement against, any residual interest in the Carve-

Out Account available following satisfaction in full in cash of all obligations benefitting from the

Carve-Out Account; and (iii) waive, and agree not to assert, any right of disgorgement with respect

to the payment of the Allowed Professional Fees. Further, notwithstanding anything to the contrary

in this Final Order or the Interim Orders, (i) disbursements by the Debtors from the Carve-Out

Account shall not constitute Advances (as defined in the DIP Credit Agreement) or increase the

DIP Term Loan Obligations, (ii) the failure of the Carve-Out Account to satisfy in full the Allowed

Professional Fees shall not affect the priority of the Carve Out, and (iii) in no way shall the Budget,

Carve-Out, Carve-Out Cap, the Liquidity Condition, Committee Carve-Out Amount or Committee

Budget Amount, or any of the foregoing be construed as a cap or limitation on the amount of the

Allowed Professional Fees due and payable by the Debtors.
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                   (d)   Trust Fund Amounts. Notwithstanding the delivery and effectiveness of a

Trigger Notice, the Debtors shall be entitled to use Cash Collateral to pay payroll expenses that

have accrued through the date of the Trigger Notice and trust fund taxes that have accrued through

the date of the Trigger Notice, each in an amount included in the Budget through the date of the

Trigger Notice but which such amounts remain unpaid (the “Trust Fund Amounts”).

                   (e)   Compensation and Reimbursement of Expenses. Notwithstanding the

foregoing, so long as no Carve-Out Trigger Notice has been issued by the DIP Agent, the

Borrowers shall be permitted to pay compensation and reimbursement of expenses Allowed and

payable under sections 330 and 331 of the Bankruptcy Code but solely to the extent such amounts

are provided for in the Budget (or, in the case of the Committee’s Professionals, the Committee

Carve-Out Amount (subject to the Liquidity Condition)), as the same may be due and payable and

otherwise allowed and payable by order of the Bankruptcy Court, and the same shall not reduce

the Carve-Out amount; provided that with respect to such allowed compensation or reimbursement

of expenses of the Committee’s Professionals up to and including the Committee Carve-Out

Amount but in excess of the Committee Budget Amount, prior to the earlier of the issuance of a

Carve-Out Trigger Notice or the occurrence of a DIP Termination Event, such amounts shall be

payable (and may be deposited into the Carve-Out Account) solely to the extent the Debtors

receive or recover funds or proceeds from any non-recurring source not in the Budget as of the

date of this Final Order (for example, but not limited to, any settlement, asset sale, insurance

recovery) or the Debtors receive receipts under the Budget in excess of the amounts set forth in

the Budget to the extent all receipts exceed actual disbursements; provided further that if the

Debtors require some or all of the liquidity generated by such non-recurring event or excess

amounts to fund the Debtors’ operation, the Debtors may, in their reasonable discretion, determine
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at such time not to fund into the Carve-Out Account such compensation or reimbursement of

expenses of the Committee’s Professionals in excess of the Committee Budget Amount, subject in

all respects to the rights of all parties, including the Committee, the DIP Lender and the Foris

Prepetition Secured Lenders to contest (or support) the Debtors’ decision on any basis (the

foregoing provisos in this clause (e), collectively, the “Liquidity Condition”). Notwithstanding

anything to the contrary herein, the Liquidity Condition shall not in any way affect the priority of,

or constitute a cap or limitation on, the Carve-Out in respect of the Committee’s Professionals up

to the Committee Carve-Out Amount.

                   (f)   Payment of Allowed Professional Fees. For the avoidance of doubt, the

Carve-Out shall be secured by a senior perfected first lien on the DIP Collateral in favor of the

Professional Persons up to the amount to which each such Professional Person is entitled under

the Budget (or, in the case of the Committee’s Professionals, the Committee Carve-Out Amount)

and the Carve-Out Cap, including the Carve-Out Account, and the DIP Agent, DIP Lenders, and

the Foris Prepetition Secured Lenders shall have no right to seek disgorgement of any Allowed

Professional Fees paid and allowed by a final order, provided, however, that, in connection with

the determination by the Bankruptcy Court of the Allowed Professional Fees, the DIP Agent, DIP

Lenders and Foris Prepetition Secured Lenders agree that they will not challenge such allowance

(or seek disgorgement) on account of any administrative claim, or super-priority claim, they may

have or assert; provided, further, that all rights of the DIP Agent, DIP Lenders, and the Foris

Prepetition Secured Lenders are expressly reserved with respect to the reasonableness and

allowance of any fees and expenses of any Professional Person incurred in connection with the

Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code.

                   (g)   No Direct Obligation To Pay Allowed Professional Fees. None of the DIP
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Agent, DIP Lenders, or the Foris Prepetition Secured Lenders shall be responsible for the payment

or reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code.

Nothing in this Final Order, the Interim Orders or otherwise shall be construed to obligate the DIP

Agent, the DIP Lenders, or the Foris Prepetition Secured Lenders, in any way, to pay compensation

to, or to reimburse expenses of, any Professional Person or to guarantee that the Debtors have

sufficient funds to pay such compensation or reimbursement.

        7.         DIP Superpriority Claims. Pursuant to, and to the extent provided by, section

364(c)(1) of the Bankruptcy Code, but subject to the Carve-Out, all of the DIP Obligations shall

constitute allowed superpriority administrative expense claims against each of the Debtors’ estates

(the “DIP Superpriority Claims”) (without the need to file any proof of claim) with priority over

any and all administrative expenses, Adequate Protection Claims, and all other claims against the

Debtors, now existing or hereafter arising, of any kind whatsoever, including, without limitation,

all administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

Code, and over any and all administrative expenses or other claims arising under sections 105,

326, 327, 328, 330, 331, 361, 362, 363, 364, 365, 503(b), 506(c), 507(a), 507(b), 726, 1113, or

1114 of the Bankruptcy Code or otherwise, which allowed claims shall for the purposes of section

1129(a)(9)(A) of the Bankruptcy Code be considered administrative expenses allowed under

section 503(b) of the Bankruptcy Code and which shall be payable from and have recourse to all

prepetition and postpetition property of the Debtors and all proceeds thereof, including, without

limitation any proceeds or property recovered in connection with the pursuit of claims or causes

of action arising under chapter 5 of the Bankruptcy Code (the “Avoidance Actions Proceeds”),


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subject only to the payment of the Carve-Out. Except as set forth in this Final Order or the Interim

Orders, no other superpriority claims shall be granted or allowed in these Chapter 11 Cases.

        8.         DIP Liens. As security for the DIP Obligations, effective and perfected upon the

date of this Final Order, and without the necessity of the execution, recordation of filings by the

Debtors of mortgages, security agreements, control agreements, pledge agreements, financing

statements, or other similar documents, or the possession or control by the DIP Agent or any DIP

Lenders of, or over, any DIP Collateral, the following security interests and liens are hereby

granted by the Debtors to the DIP Agent, for the benefit of the DIP Secured Parties, subject to (x)

the Permitted Liens (as defined in the DIP Credit Agreement) and (y) the Carve-Out (all such liens

and security interests granted to the DIP Agent, for the benefit of the DIP Lenders, pursuant to this

Final Order and the DIP Documents, the “DIP Liens”):

                   (a)    First Priority Lien on Unencumbered Property. Pursuant to section

364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable,

automatically and properly perfected, first priority security interest in and lien upon all tangible

and intangible prepetition and postpetition property of the Debtors, whether existing on the

Petition Date or thereafter acquired, and the proceeds, products, rents, and profits thereof, that,

on or as of the Petition Date, is not subject to (i) a valid, perfected and non-avoidable lien or (ii)

a valid and non-avoidable lien in existence as of the Petition Date that is perfected subsequent to

the Petition Date as permitted by section 546(b) of the Bankruptcy Code, including, without

limitation, any and all unencumbered cash of the Debtors and any investment of cash, inventory,

accounts receivable, other rights to payment whether arising before or after the Petition Date,

contracts, properties, plants, fixtures, machinery, equipment, general intangibles, documents,

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instruments, securities, goodwill, causes of action, insurance policies and rights, claims and

proceeds from insurance, commercial tort claims and claims that may constitute commercial tort

claims (known and unknown), chattel paper (including electronic chattel paper and tangible

chattel paper), interests in leaseholds, real properties, deposit accounts, patents, copyrights,

trademarks, trade names, rights under license agreements and other intellectual property, equity

interests of subsidiaries, joint ventures and other entities, wherever located, and the proceeds,

products, rents and profits of the foregoing, whether arising under section 552(b) of the

Bankruptcy Code or otherwise (the “Prepetition Unencumbered Collateral”), in each case other

than the Avoidance Actions Proceeds (but, for the avoidance of doubt, the Prepetition

Unencumbered Collateral shall include the Avoidance Actions Proceeds).

                   (b)   Liens Priming the Foris Liens. Pursuant to section 364(d)(1) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, first priority priming security interest in and lien upon the Prepetition

Collateral, including, without limitation, all tangible and intangible prepetition and postpetition

property of the Debtors subject to the Foris Liens, regardless of where located, regardless of

whether or not any liens on such assets are voided, avoided, invalidated, lapsed, or unperfected

(the “Priming Liens”), which Priming Liens shall prime in all respects the interests of the Foris

Prepetition Secured Lenders arising from the current and future liens of the Foris Prepetition

Secured Lenders (the “Primed Liens”). The Foris Prepetition Secured Lenders have consented to

the Primed Liens being primed. For the avoidance of doubt, the Primed Liens not only include

the liens of the Foris Prepetition Secured Lenders but also include, and the Priming Liens are

senior to, any liens of Lavvan, Inc. (“Lavvan”) as a matter of contract pursuant to that certain

subordination agreement, by and between Foris and Lavvan, dated as of May 2, 2019 (the
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“Subordination Agreement”), through and under which Lavvan consented to the subordination of

its liens and claims (the “Lavvan Liens”) prior to the indefeasible payment in full of all obligations

owing to Foris as set forth in the Subordination Agreement. Nothing contained in this Final Order

or the DIP Documents authorizes the non-consensual priming of any properly perfected first

priority security interest in and lien upon any of the Debtors’ collateral. In addition, to clarify the

language of section 7.25 of the DIP Credit Agreement, to the extent that any of the Debtors’

collateral is sold during these chapter 11 cases, the distribution of proceeds from the sale of such

collateral will be in accordance with the relative lien priority of any properly perfected security

interests in and liens upon such collateral.

                   (c)   Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, non-avoidable, automatically and

properly perfected, security interest in and lien upon all tangible and intangible prepetition and

postpetition property of the Debtors that is subject to (i) valid, perfected and non-avoidable senior

liens in existence immediately prior to the Petition Date (other than the Primed Liens) or (ii) valid

and non-avoidable senior liens (other than the Primed Liens) in existence immediately prior to

the Petition Date that are perfected subsequent to the Petition Date, as permitted by section

546(b) of the Bankruptcy Code (the “Other Encumbered Prepetition Collateral”), which shall be

(x) immediately junior and subordinate to any valid, perfected and non-avoidable liens (other

than the Primed Liens) in existence immediately prior to the Petition Date, and (y) any such valid

and non-avoidable liens in existence immediately prior to the Petition Date that are perfected

subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code; provided

that nothing in the foregoing clauses (i) and (ii) shall limit the rights of the DIP Secured Parties

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under the DIP Documents to the extent such liens are not permitted thereunder. For the avoidance

of doubt, the DIP Liens shall be junior and subordinate to any properly perfected first priority

security interest in and lien upon any Other Encumbered Prepetition Collateral arising under that

certain Loan and Security Agreement dated as of October 11, 2022, as amended and restated by

that certain Amendment and Restatement Agreement dated as of December 12, 2022 (as further

amended, restated, supplemented or otherwise modified from time to time, the “DSM LSA”), by

and among Amyris, certain subsidiaries thereof as guarantors, and DSM Finance B.V. (“DSM”).

For the avoidance of doubt, the collateral to which the Lavvan Liens attach is not Other

Encumbered Prepetition Collateral under this Final Order because the Lavvan Liens are junior and

subordinate to the liens of Foris pursuant to the Subordination Agreement.

                   (d)   Liens Senior to Certain Other Liens. The DIP Liens shall not be (i) subject

or subordinate to or made pari passu with (A) any lien or security interest that is avoided and

preserved for the benefit of the Debtors or their estates under section 551 of the Bankruptcy Code,

(B) unless otherwise provided for in the DIP Documents or in this Final Order, any liens or

security interests arising after the Petition Date, including, without limitation, any liens or security

interests granted in favor of any federal, state, municipal or other governmental unit (including

any regulatory body), commission, board or court for any liability of the DIP Secured Parties, or

(C) any intercompany or affiliate liens of the Debtors or its non-Debtor affiliates or security

interests of the Debtors; or (ii) subordinated to or made pari passu with any other lien or security

interest under section 363 or 364 of the Bankruptcy Code granted after the date hereof.

        9.         Adequate Protection for the Foris Prepetition Secured Lenders. The Foris

Prepetition Secured Lenders are entitled, pursuant to sections 361, 363(e) and 364(d)(1) of the

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Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral (including

Cash Collateral) in an amount equal to the aggregate diminution in the value of the Foris

Prepetition Secured Lenders’ interests in the Prepetition Collateral (including Cash Collateral)

from and after the Petition Date, which diminution is the result of the sale, lease or use by the

Debtors of the Prepetition Collateral, the priming of the Foris Liens by the DIP Liens pursuant to the

DIP Documents and this Final Order, the grant of any other priming lien under section 364 of

the Bankruptcy Code, the stay of the Foris Prepetition Secured Lenders’ rights under the

Prepetition Collateral, the payment of any amounts under the Carve-Out or pursuant to the Interim

Order, this Final Order or any other order of the Court or provision of the Bankruptcy Code or

otherwise, and the imposition of the Automatic Stay (“Adequate Protection” and the resulting

claims, “Adequate Protection Claims”). In consideration of the foregoing, the Foris Prepetition

Secured Lenders are hereby granted the following as Adequate Protection for, and to secure

repayment of an amount equal to such Adequate Protection Claims, and as an inducement to the

Foris Prepetition Secured Lenders to consent to the priming of the Foris Liens and use of the

Prepetition Collateral (including Cash Collateral) (collectively, the “Adequate Protection

Obligations”):

                   (a)   Prepetition Adequate Protection Liens. The Foris Prepetition Secured

Lenders are hereby granted (effective and perfected upon the date of this Final Order and

without the necessity of the execution of any mortgages, security agreements, pledge agreements,

financing statements or other agreements) in the amount of their Adequate Protection Claims,

a valid, perfected replacement security interest in and lien upon all of the DIP Collateral (the

“Adequate Protection Liens”), all Avoidance Actions Proceeds, in each case subject and

subordinate only to (A) the DIP Liens, (B) the Carve-Out, and (C) Permitted Liens or any valid
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and non-avoidable senior liens (other than the Primed Liens) in existence immediately prior to the

Petition Date that are perfected subsequent to the Petition Date; provided that the Adequate

Protection Liens shall be payable out of Avoidance Actions Proceeds only after the Foris

Prepetition Secured Lenders have exercised commercially reasonable efforts to satisfy the

Adequate Protection Obligations from all other DIP Collateral. For the avoidance of doubt, the

Adequate Protection Liens shall be junior and subordinate to any properly perfected first priority

security interest in and lien upon any Other Encumbered Prepetition Collateral in favor of DSM

under the DSM LSA.

                   (b)   Adequate Protection Superpriority Claims. The Foris Prepetition Secured

Lenders are hereby granted, subject to the Carve-Out, an allowed superpriority administrative

expense claim to the fullest extent provided by sections 503(b) and 507(b) of the Bankruptcy Code

in each of the Chapter 11 Cases in an amount equal to the Adequate Protection Obligations that

are not secured by the Adequate Protection Liens (the “Adequate Protection Superpriority

Claims”). The Adequate Protection Superpriority Claims shall be ahead of and senior to any and

all other administrative expense claims of any kind specified or ordered pursuant to any provision

of the Bankruptcy Code, but junior to the DIP Superpriority Claims and subject to and subordinate

to the Carve-Out and shall have recourse to and be payable from all prepetition or postpetition DIP

Collateral, including any Avoidance Action Proceeds; provided that the Adequate Protection

Superpriority Claims shall be payable out of Avoidance Actions Proceeds only after the Foris

Prepetition Secured Lenders have exercised commercially reasonable efforts to satisfy the

Adequate Protection Superpriority Claims from all other DIP Collateral. The Foris Prepetition

Secured Lenders shall not receive or retain any payments, property or other amounts in respect of


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the Adequate Protection Superpriority Claims under section 507(b) of the Bankruptcy Code

granted hereunder unless and until the DIP Obligations have been indefeasibly paid in full.

                   (c)   Adequate Protection Payments. The Debtors are authorized and directed to

pay, without the necessity of filing fee applications with, or seeking approval of, the Court or in

compliance with the U.S. Trustee fee guidelines, all reasonable and documents fees, costs, and

expenses of (i) Goodwin Procter LLP and Troutman Pepper Hamilton Sanders LLP, counsel to the

Foris Prepetition Secured Lenders, (ii) CR3 Partners LLC, financial advisor to the Foris Prepetition

Secured Lenders, and (iii) any other professionals necessary to represent the interests of the Foris

Prepetition Secured Lenders in connection with these Chapter 11 Cases whether arising on, prior

to or after the Petition Date (all payments referenced herein, collectively, the “Adequate Protection

Payments”); provided that all Adequate Protection Payments shall be deferred until the DIP

Termination Date.

                   (d)   Right to Seek Additional Adequate Protection. This Final Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the Foris

Prepetition Secured Lenders to request further or alternative forms of Adequate Protection at any

time or the rights of the Debtors or any other party to contest such request.

                   (e)   Other Covenants. The Debtors shall (i) contemporaneously provide the

Foris Prepetition Secured Lenders, the Committee, the DIP Agent with all reports, documents and

other information required to be delivered to the DIP Lenders and DIP Agent under the DIP

Documents and this Final Order and (ii) use Cash Collateral in accordance with the Budget.

        10.        Reservation of Rights of the DIP Agent, DIP Lenders, and Foris Prepetition

Secured Lenders. Subject in all cases to the Carve-Out, notwithstanding any other provision in this

Final Order or the DIP Documents to the contrary, the entry of this Final Order is without prejudice
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to, and does not constitute a waiver of, expressly or implicitly, or otherwise impair: (a) any of the

rights of any of the Foris Prepetition Secured Lenders to seek any other or supplemental relief in

respect of the Debtors including the right to seek additional Adequate Protection at and following

the Final Hearing; (b) any of the rights of the DIP Secured Parties or the Foris Prepetition Secured

Lenders under the Bankruptcy Code or under non-bankruptcy law, including, without limitation,

the right of any of the DIP Secured Parties or the Foris Prepetition Secured Lenders to (i) request

modification of the Automatic Stay of section 362 of the Bankruptcy Code, (ii) request dismissal

of any of the Chapter 11 Cases, conversion of any of the Chapter 11 Cases to cases under chapter

7, or appointment of a chapter 11 trustee or examiner with expanded powers in any of the Chapter

11 Cases, (iii) seek to propose, subject to the provisions of section 1121 of the Bankruptcy Code,

a chapter 11 plan or plans; or (c) any other rights, claims, or privileges (whether legal, equitable,

or otherwise) of any of the DIP Secured Parties or the Foris Prepetition Secured Lenders. The

delay in or failure of the DIP Secured Parties and/or the Foris Prepetition Secured Lenders to seek

relief or otherwise exercise their rights and remedies shall not constitute a waiver of any of the

DIP Secured Parties’ or the Foris Prepetition Secured Lenders’ rights and remedies.

        11.        Reservation of Certain Committee and Third Party Rights and Bar of Challenges

and Claims. The Debtors’ Stipulations, admissions, agreements, waivers, and releases contained

in this Final Order, shall be binding upon the Debtors, their estates, and any of their respective

successors (including, without limitation, any chapter 7 or chapter 11 trustee or examiner

appointed or elected for any of the Debtors) in all circumstances and for all purposes. The Debtors’

Stipulations, admissions, agreements, waivers, and releases contained in this Final Order shall be

binding upon all other parties in interest, including the Committee and any other person acting on

behalf of the Debtors’ estates, unless and to the extent such Committee or party in interest with
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requisite standing (in each case, to the extent requisite standing is obtained pursuant to an order of

this Court entered prior to the expiration of the Challenge Period (as defined herein) and subject

in all respects to any agreement or applicable law that may limit or affect such entity’s right or

ability to do so) has timely and properly filed an adversary proceeding or contested matter (i)

before 75 calendar days after entry of the First Interim Order, each subject to further extension by

written agreement of the Debtors, the DIP Agent, and the Foris Prepetition Secured Lenders, (in

each case, a “Challenge Period” and the date of expiration of each Challenge Period being a

“Challenge Period Termination Date”); (ii) seeking to avoid, object to, or otherwise challenge the

findings or Debtors’ Stipulations regarding: (a) the validity, binding, legal, enforceability,

allowance, amount, characterization, extent and priority as to the Foris Prepetition Secured

Lenders under the Foris Prepetition Secured Loan Agreements; (b) the validity, enforceability,

allowability, priority, characterization, secured status, or amount of the Foris Prepetition

Obligations; or (c) otherwise asserting or prosecuting any action for preferences, fraudulent

transfers or conveyances subordination, recharacterization, avoidance power claims under the

Bankruptcy Code or applicable state or federal law, other avoidance power claims or other claims,

counterclaims or causes of action, objections, contests or defenses (collectively, the “Challenges”)

against the Foris Prepetition Secured Lenders or their respective subsidiaries, affiliates, officers,

directors, managers, principals, employees, or agents, and the respective successors and assigns

thereof, in each case in their respective capacity as such (each, a “Representative” and,

collectively, the “Representatives”) in connection with any matters directly or indirectly related

to, arising from, or connected with the Foris Prepetition Secured Loan Agreements, and Foris

Prepetition Obligations, the Foris Liens, and the Prepetition Collateral, and the negotiation,

implementation and facts and circumstances related to any of the foregoing and (iii) in which there
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is a final non-appealable order entered in favor of the plaintiff sustaining any such Challenge in

any such timely filed adversary proceeding or contested matter; provided, however, that any

pleadings filed in connection with any Challenge shall set forth with specificity the basis for such

challenge or claim, and any challenges or claims not so specified prior to the expiration of the

Challenge Period shall be deemed forever waived, released, and barred, including any amended or

additional claims that may or could have been asserted thereafter through an amended complaint

under Fed. R. Civ. P. 15 or otherwise. If the Chapter 11 Cases convert to cases under chapter 7,

or if a chapter 11 trustee is appointed, in each case prior to the end of the Challenge Period, the

Challenge Period shall be extended solely for the chapter 7 or chapter 11 trustee to 30 days after

the respective appointment of any such trustee to the extent the Challenge Period had not expired

prior the appointment of such trustee. Upon the expiration of the Challenge Period Termination

Date without the filing of a Challenge (or if any such Challenge is filed and overruled): (a) any

and all such Challenges by any party (including the Committee, any chapter 11 trustee, and/or any

examiner or other estate representative appointed or elected in these Chapter 11 Cases, and any

chapter 7 trustee and/or examiner or other estate representative appointed or elected in any

Successor Case) shall be deemed to be forever barred; (b) the Foris Prepetition Obligations shall

constitute allowed claims, not subject to counterclaim, setoff, recoupment, reduction,

subordination, recharacterization, defense, or avoidance for all purposes in these Chapter 11 Cases

and any Successor Cases; (c) the Foris Liens shall be deemed to have been, as of the Petition Date,

legal, valid, binding, enforceable and perfected secured claims, not subject to recharacterization,

subordination, or avoidance; and (d) all of the Debtors’ Stipulations and admissions contained in

this Final Order, including the Debtors’ Stipulations, and all other waivers, releases, affirmations,

and other stipulations regarding the validity, binding, legal, enforceability, allowance, amount,
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characterization, priority, and extent as to the Foris Prepetition Secured Lenders’ claims, liens, and

interests contained in this Final Order shall be of full force and effect and forever binding upon

the Debtors, the Debtors’ estates, and all creditors, interest holders, and other parties in interest in

these Chapter 11 Cases and any Successor Cases. If any such adversary proceeding or contested

matter is timely and properly filed under the Bankruptcy Rules and remains pending and the

Chapter 11 Cases are converted to a case under chapter 7, the chapter 7 trustee may continue to

prosecute such adversary proceeding or contested matter on behalf of the Debtors’ estates.

Furthermore, if any such adversary proceeding or contested matter is timely and properly filed

under the Bankruptcy Rules, the stipulations and admissions contained in this Final Order,

including the Debtors’ Stipulations, shall nonetheless remain binding and preclusive on the

Committee and any other person or entity except to the extent that such stipulations and admissions

were expressly challenged in such adversary proceeding or contested matter prior to the Challenge

Period Termination Date. Nothing in this Final Order vests or confers on any person (as defined

in the Bankruptcy Code), including, without limitation, the Committee appointed in the Chapter

11 Cases, requisite standing or authority to pursue any cause of action belonging to the Debtors or

their estates, including, without limitation any challenges (including a Challenge) with respect to

the Foris Prepetition Secured Loan Agreements, the Foris Liens, and the Foris Prepetition

Obligations, and a separate order of the Court conferring such requisite standing on the Committee

or other party-in-interest shall be a prerequisite for the prosecution of a Challenge by such

Committee or such other party-in-interest; provided that so long as any potential claim has not

previously been lawfully waived under the organizational documents of the applicable Debtors,

no interested party shall be permitted to raise as a defense to any request for standing or to any

Challenge the argument that creditors of such Debtor do not have the ability under applicable law
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to file derivative suits on behalf of limited liability companies under the Delaware Limited

Liability Company Act, but all other objections, defenses, claims or arguments to any such request

for standing or to any Challenge are expressly reserved and preserved in all respects.

Notwithstanding the foregoing, to the extent a motion seeking standing to commence a Challenge

is timely filed and attaches a draft complaint setting forth the legal and factual bases of the

proposed Challenge prior to the expiration of the Challenge Period and the Challenge Period

expires before such motion is ruled upon by this Court, the Challenge Period will be tolled solely

with respect to the Challenges asserted in the draft complaint until the earlier of (x) the thirtieth

(30th) day following the filing of such motion (which may be extended by Court order or written

agreement of the DIP Agent, Debtors and movant, in each case, to accommodate the Court’s

calendar) or (y) three (3) business days from the entry of an order ruling on such motion. If

standing is denied by the Court, the Challenge Period shall be deemed to have expired with respect

to such Challenges; provided, however nothing herein shall limit the Foris Prepetition Secured

Lenders’ right to seek an expedited ruling on any such motion. Notwithstanding anything to the

contrary in this Paragraph 11, the Challenge Period Termination Date for the Committee shall be

November 15, 2023.

        12.        DIP Termination Date. On the DIP Termination Date, (a) all DIP Obligations shall

be immediately due and payable, and all commitments to extend credit under the DIP Facility will

terminate; (b) all authority to use Cash Collateral shall cease; provided, however, that during the

Remedies Notice Period (as defined below), the Debtors may use Cash Collateral to fund the

Carve-Out and Trust Fund Amounts in accordance with the Budget (subject to the Permitted

Variances) (or, in the case of the Committee’s Professionals, the Committee Carve-Out Amount);


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and (c) the DIP Secured Parties shall be otherwise entitled to exercise rights and remedies under

the DIP Documents in accordance with Paragraph 15 of this Final Order.

        13.        Events of Default. The occurrence of any of the following events, unless waived by

the DIP Agent in accordance with the terms of the DIP Documents, shall constitute an event of

default (collectively, the “Events of Default”): (a) the failure of the Debtors to perform, in any

material respect, any of the terms, provisions, conditions, covenants, or obligations under this Final

Order; or (b) the occurrence of an “Event of Default” under the DIP Credit Agreement.

        14.        Milestones. The failure of the Debtors to comply with any of the Milestones (as

defined in, and set forth in, Section 7.25 of the DIP Credit Agreement and subject to section

8.12(t)) shall (a) constitute an Event of Default under (i) the DIP Credit Agreement and (ii) this

Final Order, (b) result in the automatic termination of the Debtors’ authority to use Cash Collateral

under this Final Order, and (c) permit the DIP Agent, subject to the terms of Paragraph 15 hereof

(as applicable), to exercise the rights and remedies provided for in this Final Order and the DIP

Documents.

        15.        Rights and Remedies upon Event of Default.

                   (a)    Immediately upon the occurrence and during the continuation of an Event

of Default, notwithstanding the Automatic Stay, which is lifted with respect to the provisions of

this paragraph, without any application, motion, or notice to, hearing before, or order from the

Court, but subject to the terms of this Final Order, the DIP Agent may declare (any such declaration

shall be referred to herein as a “Termination Declaration”) (i) all DIP Obligations owing under the

DIP Documents to be immediately due and payable, (ii) the termination, reduction or restriction

of any further commitment to extend credit to the Debtors to the extent any such commitment

remains under the DIP Facility, (iii) the termination of the DIP Facility and the DIP Documents as
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to any future liability or obligation of the DIP Agent and the DIP Lenders, but without affecting

any of the DIP Liens or the DIP Obligations, and (iv) the termination of the Debtors’ ability to use

Cash Collateral, except for payment of the Trust Fund Amounts and funding of the Carve-Out

Account and any obligations to fund the Carve-Out through the delivery of the Carve-Out Trigger

Notice to the Borrowers (the date which is the earliest to occur of any such date a Termination

Declaration is delivered and the DIP Termination Date shall be referred to herein as the

“Termination Date” and the remedies set forth in clauses (i) through (v) hereof, the “Automatic

Remedies”). The Termination Declaration shall not be effective until notice has been provided by

electronic mail (or other electronic means) to counsel to the Debtors, counsel to the Committee,

and the U.S. Trustee.

                   (b)   With respect to all rights and remedies of the DIP Agent, the DIP Lenders

and the Foris Prepetition Secured Lenders other than the Automatic Remedies, the Automatic Stay

in the Chapter 11 Cases otherwise applicable to the DIP Agent, the DIP Lenders, and the Foris

Prepetition Secured Lenders is hereby modified so that five (5) business days after the date a

Termination Declaration is delivered (the “Remedies Notice Period”), unless the Bankruptcy Court

orders otherwise, the DIP Agent shall be entitled to exercise all of its rights and remedies (other

than the Automatic Remedies) in accordance with the DIP Documents and this Final Order to

satisfy the DIP Obligations, DIP Liens, and Adequate Protection Obligations subject to the Carve-

Out. During the Remedies Notice Period, the Debtors, the Committee, and/or any party in interest

shall be entitled to seek an emergency hearing within the Remedies Notice Period with the Court;

provided that, if a request for such hearing is made prior to the end of the Remedies Notice Period,

then the Remedies Notice Period shall be continued until the Court hears at its earliest availability

and rules with respect thereto. Upon expiration of the Remedies Notice Period, the DIP Agent and
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the Foris Prepetition Secured Lenders shall be permitted to exercise all remedies set forth herein,

and in the DIP Documents, the Foris Prepetition Secured Loan Agreements and as otherwise

available at law without further order of or application or motion to this Court consistent with this

Final Order; provided that the Foris Prepetition Secured Lenders shall be permitted to exercise

remedies to the extent available solely with respect to the Debtors’ use of Cash Collateral and the

Adequate Protection Obligations. In the event the Debtors request a hearing at which the Debtors

seek to prevent the DIP Agent from exercising any of its rights and remedies that arise after an

Event of Default (except for those provided for in the DIP Agent remedies), the sole issue that may

be raised by the Debtors before the Bankruptcy Court at such hearing shall be whether an Event

of Default has occurred and has not been waived.

        16.        Limitation on Charging Expenses Against Collateral. Except to the extent of the

Carve-Out, as applicable (but for the avoidance of doubt, without duplication), no expenses of

administration of the Chapter 11 Cases or any future proceeding that may result therefrom,

including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be

charged against or recovered from (a) the Prepetition Collateral or the Foris Prepetition Secured

Lenders or (b) the DIP Collateral, the DIP Agent or the DIP Lenders, in each case, pursuant to

sections 105(a) or 506(c) of the Bankruptcy Code or any similar principle of law or equity, without

the prior written consent of the DIP Agent, the DIP Lenders, and the Foris Prepetition Secured

Lenders, as applicable, and no such consent shall be implied from any other action, inaction, or

acquiescence by the DIP Agent, the DIP Lenders, or the Foris Prepetition Secured Lenders.

        17.        Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral of the Foris Prepetition Secured Lenders, but solely for the purposes set forth in this

Final Order and in accordance with the Budget (subject to Permitted Variances as set forth in this
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Final Order and the DIP Documents) including, without limitation, to make payments on account

of the Adequate Protection Obligations provided for in this Final Order, from the date of this Final

Order through and including the Termination Date.

        18.        Expenses and Indemnification.

                   (a)    The Debtors are hereby authorized and directed to pay, in accordance with

this Final Order, the principal, interest, fees, payments, expenses, and other amounts described in

the DIP Documents as such amounts become due and without need to obtain further Court

approval, including, without limitation, all invoiced fees and other amounts owed to the DIP

Lenders or the DIP Agent (solely in their respective capacities as such), the reasonable and

documented fees and disbursements of counsel and other professionals to the extent set forth in

Paragraphs 3(d) and 9(c) of this Final Order, whether or not such fees arose before or after the

Petition Date, all to the extent provided in this Final Order or the DIP Documents; provided that

payment of such fees, expenses, and other disbursements shall be deferred to the DIP Termination

Date; and further provided that payment shall be made after at least ten (10) days’ notice (which

may be via email) of an invoice (the “Fee Objection Period”) has been provided to the Debtors,

the U.S. Trustee, and the Committee (the “Fee Notice Parties”). If a formal objection is made by

any of the Fee Notice Parties within the Fee Objection Period to payment of the requested

postpetition fees and expenses, then only the disputed portion of such fees and expenses shall not

be paid until such objection is resolved by the applicable parties in good faith or by order of the

Court, and the undisputed portion shall be promptly paid by the Debtors. Notwithstanding the

foregoing, the Debtors are authorized and directed to pay all adequate protection fees and expenses

incurred under this Paragraph 18 on or prior to the Petition Date without the need for any applicable

professional to first deliver a copy of its invoice or other supporting documentation. Subject to
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paragraph 11, any and all fees, costs and expenses paid prior to the Petition Date by any of the

Debtors to or on behalf of the Foris Prepetition Secured Lenders (solely in their capacities as such),

in connection with or with respect to these matters, are hereby approved in full and shall not be

subject to avoidance, disgorgement, or any similar form of recovery by the Debtors or any other

person.

                   (b)   The Foris Prepetition Secured Lenders and the DIP Secured Parties have

acted in good faith and without negligence, misconduct, or violation of public policy or law, in

respect of all actions taken by them in connection with or related in any way to negotiating,

implementing, documenting, or obtaining requisite approvals of the DIP Facility and the use of

Cash Collateral, including in respect of the granting of the DIP Liens and the Adequate Protection

Obligations, any challenges or objections to the DIP Facility or the use of Cash Collateral, the DIP

Documents, the Final Order, and all other documents related to and all transaction contemplated

by the foregoing. Accordingly, without limitation to any other right to indemnification, the DIP

Secured Parties and their Representatives, in each case solely in their respective capacities as such,

and the Foris Prepetition Secured Lenders and their Representatives, in each case solely in their

respective capacities as such, shall be and hereby are indemnified (as applicable) as provided in

the DIP Documents. The Debtors agree that no exception or defense in contract, law, or equity

exists as of the date of this Final Order to any obligation set forth, as the case may be, in this

Paragraph 18 or in the DIP Documents to indemnify and/or hold harmless the DIP Secured Parties,

and the Foris Prepetition Secured Lenders (in each case, solely in their respective capacities as

such) and any such defenses that may be in existence as of the date of this Final Order are hereby

waived, except in the case of bad faith, fraud, or gross negligence.


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        19.        No Third Party Rights. Except as explicitly provided for herein, this Final Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.

        20.        Section 507(b) Reservation. Subject to the Carve-Out, nothing herein shall impair

or modify the application of section 507(b) of the Bankruptcy Code in the event that the Adequate

Protection provided to the Foris Prepetition Secured Lenders is insufficient to compensate for any

aggregate diminution in the value as of the Petition Date of their interests in the Prepetition

Collateral (including Cash Collateral) as provided in Paragraph 9 during the Chapter 11 Cases.

Nothing contained herein shall be deemed a finding by the Court, or an acknowledgment by any

of the Foris Prepetition Secured Lenders that the Adequate Protection granted herein does in fact

adequately protect any of the Foris Prepetition Secured Lenders against any aggregate diminution

in the value as of the Petition Date of their respective interests in the Prepetition Collateral

(including the Cash Collateral) as provided in Paragraph 9.

        21.        Insurance. Upon entry of this Final Order and to the fullest extent provided by

applicable law, the DIP Agent (on behalf of the DIP Secured Parties) and the Foris Prepetition

Secured Lenders (solely with respect to any Adequate Protection Obligations), shall be, and shall

be deemed to be, without any further action or notice, named as additional insured and loss payee

on each insurance policy maintained by the Debtors that in any way relates to the DIP Collateral.

        22.        No Waiver for Failure to Seek Relief. The failure or delay of the DIP Agent or the

DIP Lenders to exercise rights and remedies under this Final Order, the DIP Documents, or

applicable law, as the case may be, shall not constitute a waiver of their respective rights hereunder,

thereunder, or otherwise.

        23.        Perfection of the DIP Liens and Adequate Protection Liens.
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                   (a)   Without in any way limiting the automatic validity and effective perfection

of the DIP Liens and Adequate Protection Liens granted herein, the DIP Agent, the DIP Lenders,

and the Foris Prepetition Secured Lenders are hereby authorized, but not required, to file or record

(and to execute in the name of the Borrowers and Guarantors and the Foris Prepetition Secured

Lenders (as applicable), as their true and lawful attorneys, with full power of substitution, to the

maximum extent permitted by law) financing statements, trademark filings, patent filings,

copyright filings, other intellectual property filings, mortgages, deposit account control

agreements, notices of lien or similar instruments in any jurisdiction, or to take possession of or

control over cash or securities, or to amend or modify security documents, or to subordinate

existing liens and any other similar action or action in connection therewith or take any other action

in order to document, validate and perfect the liens and security interests granted hereunder (the

“Perfection Actions”). Whether or not the DIP Agent, on behalf of the DIP Secured Parties, or the

Foris Prepetition Secured Lenders shall take such Perfection Actions, the liens and security

interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable, and not, subject

to challenge, dispute, or subordination, at the time and on the date of entry of this Final Order. If

the DIP Agent and the Foris Prepetition Secured Lenders determine to take any Perfection Actions,

the Debtors shall cooperate and assist in any such execution and/or filings as reasonably requested

by the DIP Agent, and the Automatic Stay shall be modified to allow such Perfection Actions to

be taken.

                   (b)   A certified copy of this Final Order may, at the direction of the DIP Agent,

and/or the Foris Prepetition Secured Lenders, be filed with or recorded in filing or recording offices

by the DIP Agent and the Foris Prepetition Secured Lenders in addition to or in lieu of such

financing statements, mortgages, notices of lien, or similar instruments, and all filing offices are
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hereby authorized to accept such certified copy of this Final Order for filing and recording;

provided, however, that notwithstanding the date of any such filing, the date of such perfection

shall be the date of the First Interim Order.

                   (c)    Any provision of any lease or other license, contract or other agreement that

requires (i) the consent or approval of one or more landlords, licensor, contract counterparty or

other parties or (ii) the payment of any fees or obligations to any governmental entity, in order for

any Debtor to pledge, grant, sell, assign, or otherwise transfer any such leasehold interest, license,

contracts, or other rights, or the proceeds thereof, or other collateral related thereto, is hereby

deemed to be inconsistent with the applicable provisions of the Bankruptcy Code, subject to

applicable law. Any such provision shall have no force and effect with respect to the granting of

the DIP Liens and the Adequate Protection Liens on such leasehold interest, license, contract or

other rights, or the proceeds thereof, of any assignment and/or sale thereof by any Debtor in

accordance with the terms of the DIP Credit Agreement or this Final Order, subject to applicable

law.

        24.        Credit Bidding. The DIP Agent shall have the right to credit bid up to the full

amount of the DIP Obligations in any sale of the DIP Collateral. The Foris Prepetition Secured

Lenders shall have the right to credit bid (either directly or through one or more acquisition

vehicles), up to the full amount of the Foris Prepetition Obligations pursuant to section 363(k) of

the Bankruptcy Code, subject to the rights and limitations set forth in Paragraphs 11 and 26 of this

Final Order, without the need for any further Court order authorizing the same and whether any

such sale is effectuated through section 363 or 1129 of the Bankruptcy Code, by a chapter 7 trustee

under section 725 of the Bankruptcy Code, or otherwise.

        25.        Preservation of Rights Granted Under this Final Order.
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                   (a)   Unless and until all DIP Obligations are indefeasibly paid in full, in cash,

and all commitments to extend credit under the DIP Facility are terminated, unless the DIP Lenders

agree otherwise, the Foris Prepetition Secured Lenders shall: (i) have no right to and shall take no

action to foreclose upon, or recover in connection with, the liens granted thereto pursuant to the

Foris Prepetition Secured Loan Agreements or this Final Order, or otherwise seek to exercise or

enforce any rights or remedies against such DIP Collateral; and (ii) not file any further financing

statements, trademark filings, copyright filings, mortgages, notices of lien or similar instruments,

or otherwise take any action to perfect their security interests in the DIP Collateral, except as set

forth in Paragraph 24 herein.

                   (b)   In the event this Final Order or any provision hereof is vacated, reversed, or

modified on appeal or otherwise, any liens or claims granted to the DIP Secured Parties or the

Foris Prepetition Secured Lenders hereunder arising prior to the effective date of any such vacatur,

reversal, or modification of this Final Order shall be governed in all respects by the original

provisions of this Final Order, including entitlement to all rights, remedies, privileges, and benefits

granted herein, and the DIP Secured Parties shall be entitled to all the rights, remedies, privileges,

and benefits afforded in section 364(e) of the Bankruptcy Code.

                   (c)   Unless and until all DIP Obligations, Foris Prepetition Obligations, and

Adequate Protection Payments are indefeasibly paid in full, in cash, and all commitments to extend

credit under the DIP Facility are terminated, the Debtors irrevocably waive the right to seek and

shall not seek or consent to, directly or indirectly (i) except as permitted under the DIP Documents

or, if not provided for therein, with the prior written consent of the DIP Agent and (x) any

modification, stay, vacatur, or amendment of this Final Order or (y) a priority claim for any

administrative expense or unsecured claim against any of the Debtors (now existing or hereafter
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arising of any kind or nature whatsoever, including, without limitation, any administrative expense

of the kind specified in sections 503(b), 507(a), or 507(b) of the Bankruptcy Code) in any of the

Chapter 11 Cases, pari passu with or senior to the DIP Superpriority Claims, the Adequate

Protection Superpriority Claims, or the Foris Prepetition Obligations, or (z) any other order

allowing use of the DIP Collateral; (ii) except as permitted under the DIP Documents (including

the Carve-Out), any lien on any of the DIP Collateral with priority equal or superior to the DIP

Liens, the Adequate Protection Liens or the Foris Liens, as applicable; (iii) the use of Cash

Collateral for any purpose other than as permitted in the DIP Documents and this Final Order; (iv)

except as set forth in the DIP Documents, the return of goods pursuant to section 546(h) of the

Bankruptcy Code (or other return of goods on account of any prepetition indebtedness) to any

creditor of any Debtor; (v) an order converting or dismissing any of the Chapter 11 Cases; (vi) an

order appointing a chapter 11 trustee in any of the Chapter 11 Cases; or (vii) an order appointing

an examiner with enlarged powers in any of the Chapter 11 Cases.

                   (d)   Notwithstanding any order dismissing any of the Chapter 11 Cases entered

at any time, (x) the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the

Adequate Protection Obligations and the Adequate Protection Superpriority Claims, and the other

administrative claims granted pursuant to this Final Order, shall continue in full force and effect

and shall maintain their priorities as provided in this Final Order until all DIP Obligations and

Adequate Protection Obligations are indefeasibly paid in full, in cash (and such DIP Liens, DIP

Superpriority Claims, Adequate Protection Liens, Adequate Protection Obligations and Adequate

Protection Superpriority Claims, and the other administrative claims granted pursuant to this Final

Order, shall, notwithstanding such dismissal, remain binding on all parties in interest); and (y) to

the fullest extent permitted by law the Court shall retain jurisdiction, notwithstanding such
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dismissal, for the purposes of enforcing the claims, liens, and security interests referred to in clause

(x) above.

                   (e)   Except as expressly provided in this Final Order or in the DIP Documents,

the DIP Liens, the DIP Obligations, and the Adequate Protection Obligations, and all other rights

and remedies of the DIP Agent, the DIP Lenders, and the Foris Prepetition Secured Lenders

granted by the provisions of this Final Order and the DIP Documents shall survive, and shall not

be modified, impaired, or discharged by (i) the entry of an order converting any of the Chapter 11

Cases to a case under chapter 7, dismissing any of the Chapter 11 Cases, terminating the joint

administration of these Chapter 11 Cases or by any other act or omission, (ii) the entry of an order

approving the sale of any Prepetition Collateral or DIP Collateral pursuant to section 363(b) of the

Bankruptcy Code, or (iii) the entry of an order confirming a chapter 11 plan in any of the Chapter

11 Cases and, pursuant to section 1141(d)(4) of the Bankruptcy Code, the Debtors have waived

any discharge as to any remaining DIP Obligations or Adequate Protection Obligations. The terms

and provisions of this Final Order and the DIP Documents shall continue in these Chapter 11

Cases, in any Successor Cases if these Chapter 11 Cases cease to be jointly administered, or in any

superseding chapter 7 cases under the Bankruptcy Code. The DIP Liens, the DIP Obligations and

the Adequate Protection Obligations and all other rights and remedies of the DIP Secured Parties

and the Foris Prepetition Secured Lenders granted by the provisions of this Final Order shall

continue in full force and effect until the DIP Obligations and the Adequate Protection Obligations

are indefeasibly paid in full, in cash (or, with respect to the DIP Obligations, otherwise satisfied in

a manner agreed to by the DIP Lenders and the DIP Agent).

                   (f)   Other than as set forth in this Final Order, neither the DIP Liens nor the

Adequate Protection Liens shall be made subject to or pari passu with any lien or security interest
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granted in any of the Chapter 11 Cases or arising after the Petition Date, and neither the DIP Liens

nor the Adequate Protection Liens shall be subject or junior to any lien or security interest that is

avoided and preserved for the benefit of the Debtors’ estates under Bankruptcy Code section 551.

        26.        Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral.

Notwithstanding any other provision of this Final Order or any other order entered by the Court,

no DIP Loans, DIP Collateral, Prepetition Collateral (including Cash Collateral) or any portion of

the Carve-Out, may be used directly or indirectly, including, without limitation through

reimbursement of professional fees of any non-Debtor party (a) in connection with the

investigation, threatened initiation or prosecution of any claims, causes of action, adversary

proceedings or other litigation or challenges (i) against any of the DIP Secured Parties, the Foris

Prepetition Secured Lenders, or their Representatives, or any action purporting to do the foregoing

in respect of the DIP Obligations, the DIP Liens, Foris Prepetition Obligations, and/or the

Adequate Protection Obligations or (ii) challenging the validity, binding, legal, enforceability,

allowance, amount, characterization, extent and priority or asserting any defense, counterclaim or

offset with respect to, the DIP Obligations, the Adequate Protection Obligations, the Foris

Prepetition Secured Loans and/or the liens, claims, rights, or security interests securing or

supporting the DIP Obligations and the Adequate Protection Obligations granted under this Final

Order, the Interim Orders, the DIP Documents or the Foris Prepetition Secured Loan Agreements

in respect of the Foris Prepetition Secured Loans, including, in the case of each (i) and (ii), without

limitation, for lender liability, recharacterization, subordination, derivative claims, or pursuant to

section 105, 510, 544, 547, 548, 549, 550 or 552 of the Bankruptcy Code, applicable non-

bankruptcy law or otherwise (provided that, notwithstanding anything to the contrary herein,

the proceeds of the DIP Loans and/or DIP Collateral (including Cash Collateral) may be used
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by the Committee to investigate (but not to prosecute or initiate the prosecution of, including the

preparation of any complaint or motion on account of) (A) the claims and liens of the Foris

Prepetition Secured Lenders and (B) potential claims, counterclaims, causes of action or defenses

against the Foris Prepetition Secured Lenders (together, the “Investigation”), up to an aggregate

cap of no more than $100,000 (the “Investigation Budget”), (b) to prevent, hinder, or otherwise

delay or interfere with the Foris Prepetition Secured Lenders’, or the DIP Agent’s, or the DIP

Secured Parties’, as applicable, enforcement or realization on the Foris Prepetition Obligations,

Foris Liens, Prepetition Collateral, Adequate Protection Obligations, DIP Obligations, DIP Liens,

DIP Collateral, and the liens, claims and rights granted to such parties under the Interim Orders

or Final Order, as applicable, each in accordance with the DIP Documents, the Foris Prepetition

Secured Loan Agreements or this Final Order; (c) to seek to modify any of the rights and remedies

granted to the Foris Prepetition Secured Lenders, the DIP Agent or the DIP Lenders under this

Final Order, the Foris Prepetition Secured Loan Agreements or the DIP Documents, as applicable;

(d) to apply to the Court for authority to approve superpriority claims or grant liens (other than the

liens permitted pursuant to the DIP Documents) or security interests in the DIP Collateral or

any portion thereof that are senior to, or on parity with, the DIP Liens, DIP Obligations,

a n d Adequate Protection Obligations, or (e) to pay or to seek to pay any amount on account of

any claims arising prior to the Petition Date unless such payments are approved or authorized

by the Court, agreed to in writing by the DIP Lenders, expressly permitted under this Final Order

or permitted under the DIP Documents (including the Budget, subject to t he Permitted Variance,

or, in the case of the Committee’s Professionals, the Committee Carve-Out Amount (subject to the

Liquidity Condition)), in each case unless all DIP Obligations, Foris Prepetition Secured Loans,

Adequate Protection Obligations, and claims granted to the DIP Agent, DIP Lenders and Foris
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Prepetition Secured Lenders under this Final Order (in the case of the Foris Prepetition Secured

Lenders, subject to Paragraph 11), have been refinanced or paid in full in cash or otherwise

agreed to in writing by the DIP Secured Parties and the Foris Prepetition Secured Lenders. To

the extent the fees and expenses of the Committee incurred in connection with such actions exceed

the Investigation Budget, the Committee’s rights with respect to the assertion and allowance of

any administrative expense claim against the Debtors for any fees and expenses incurred (whether

in excess of the Investigation Budget or otherwise) are preserved and all parties’ rights to oppose

the allowance of any fees and expenses of the Committee shall be preserved.

        27.        Conditions Precedent. No DIP Lenders shall have any obligation to make any DIP

Loan under the respective DIP Documents unless all of the conditions precedent to the making of

such extensions of credit under the applicable DIP Documents have been satisfied in full or waived

in accordance with such DIP Documents.

        28.        Binding Effect; Successors and Assigns. The DIP Documents and the provisions of

this Final Order and the Interim Orders, including all findings herein, shall be binding upon all

parties in interest in these Chapter 11 Cases, including without limitation, the DIP Secured Parties,

the Foris Prepetition Secured Lenders, the Committee appointed in these Chapter 11 Cases, and

the Debtors and their respective successors and assigns (including any chapter 7 or chapter 11

trustee hereinafter appointed or elected for the estate of any of the Debtors, an examiner appointed

pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal

representative of any of the Debtors or with respect to the property of the estate of any of the

Debtors) and shall inure to the benefit of the DIP Secured Parties and the Foris Prepetition Secured

Lenders; provided that, except to the extent expressly set forth in this Final Order, the Foris

Prepetition Secured Lenders shall have no obligation to permit the use of Cash Collateral or to
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extend any financing to any chapter 7 trustee or similar responsible person appointed for the estates

of the Debtors. In determining to make any loan (whether under the DIP Credit Agreement, a

promissory note or otherwise) to permit the use of Cash Collateral or in exercising any rights or

remedies as and when permitted pursuant to this Final Order or the DIP Documents, the DIP

Secured Parties and the Foris Prepetition Secured Lenders (in each case, solely in their respective

capacities as such) shall not (i) be deemed to be in control of the operations of the Debtors, or (ii)

owe any fiduciary duty to the Debtors, their respective creditors, shareholders, or estates.

        29.        Limitation of Liability. In determining to make any loan under the DIP Documents,

permitting the use of Cash Collateral, or in exercising any rights or remedies as and when permitted

pursuant to this Final Order or the DIP Documents, the DIP Secured Parties and the Foris

Prepetition Secured Lenders shall not, solely by reason thereof, be deemed in control of the

operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

respect to the operation or management of the Debtors (as such terms, or any similar terms, are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601 et seq. as amended, or any similar federal or state statute). Furthermore,

nothing in this Final Order or in the DIP Documents shall in any way be construed or interpreted

to impose or allow the imposition upon the DIP Secured Parties or the Foris Prepetition Secured

Lenders (in each case, solely in their respective capacities as such) of any liability for any claims

arising from the prepetition or post-petition activities of any of the Debtors.

        30.        No Requirement to File Claim for DIP Obligations. Notwithstanding anything to

the contrary contained in any prior or subsequent order of the Court, including, without limitation,

any order establishing a deadline for the filing of proofs of claim or requests for payment of

administrative expenses under section 503(b) of the Bankruptcy Code, the DIP Secured Parties
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and the Foris Prepetition Secured Lenders shall not be required to file any proof of claim or request

for payment of administrative expenses with respect to any of the DIP Obligations, Adequate

Protection Obligations, all of which shall be due and payable in accordance with the DIP

Documents without the necessity of filing any such proof of claim or request for payment of

administrative expenses, and the failure to file any such proof of claim or request for payment of

administrative expenses shall not affect the validity, binding, legal, enforceability, allowance,

amount, characterization, extent and priority as to any of the DIP Documents or of any

indebtedness, liabilities, or obligations arising at any time thereunder or under this Final Order, or

prejudice or otherwise adversely affect the DIP Secured Parties’ or the Foris Prepetition Secured

Lenders’ respective rights, remedies, powers, or privileges under any of the DIP Documents, this

Final Order, or applicable law. The provisions set forth in this paragraph are intended solely for

the purpose of administrative convenience and shall not affect the substantive rights of any party-

in-interest or their respective successors-in-interest.

        31.        No Requirement to File Claim for Foris Prepetition Obligations. Notwithstanding

anything to the contrary contained in any prior or subsequent order of the Court, including, without

limitation, any order establishing a deadline for the filing of proofs of claim or requests for

payment of administrative expenses under section 503(b) of the Bankruptcy Code, no Foris

Prepetition Secured Lender shall be required to file any proof of claim or request for payment of

administrative expenses with respect to any of the Foris Prepetition Obligations; and the failure to

file any such proof of claim or request for payment of administrative expenses shall not affect the

validity, binding, legal, enforceability, allowance, amount, characterization, extent and priority as

to any of the Foris Prepetition Secured Loan Agreements or of any indebtedness, liabilities, or

obligations arising at any time thereunder or prejudice or otherwise adversely affect the Foris
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Prepetition Secured Lenders’ rights, remedies, powers, or privileges under any of the Foris

Prepetition Secured Loan Agreements, this Final Order, or applicable law. The provisions set forth

in this paragraph are intended solely for the purpose of administrative convenience and shall not

affect the substantive rights of any party-in-interest or their respective successors-in-interest.

        32.        No Marshaling. In no event shall (a) the DIP Agent or the DIP Secured Parties

with respect to the DIP Collateral and the DIP Obligations, or the Foris Prepetition Secured

Lenders with respect to the Adequate Protection Obligations (except with respect to the marshaling

of Avoidance Action Proceeds as provided in Paragraph 9(a) and (b)), or (b) the Foris Prepetition

Secured Lenders with respect to the Prepetition Collateral or the Foris Prepetition Obligations,

subject to entry of this Final Order, in each case, be subject to the equitable doctrine of

“marshaling” or any other similar doctrine.

        33.        Equities of the Case. In no event shall the “equities of the case” exception in section

552(b) of the Bankruptcy Code apply to the Foris Prepetition Secured Lenders with respect to

proceeds, product, offspring, or profits of any of the Prepetition Collateral.

        34.        Joint and Several Liability. Nothing in this Final Order shall be construed to

constitute a substantive consolidation of any of the Debtors’ estates, it being understood, however,

that the Debtors and the Guarantors shall be jointly and severally liable for the obligations

hereunder and all DIP Obligations in accordance with the terms hereof and of the DIP Documents.

        35.        Discharge. The DIP Obligations and the obligations of the Debtors with respect to

the Adequate Protection provided herein shall not be discharged by the entry of an order

confirming any plan of reorganization in any of the Chapter 11 Cases, notwithstanding the

provisions of section 1141(d) of the Bankruptcy Code, unless such obligations have been

indefeasibly paid in full in cash (other than contingent indemnification obligations for which no
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claim has been asserted), on or before the effective date of such plan of reorganization, or each of

the DIP Secured Parties and the Foris Prepetition Secured Lenders as applicable, has to otherwise

agreed in writing; provided that the DIP Facility, at the sole option of the DIP Lenders may be

continued and/or converted into an exit term facility financing, subject to and in accordance with

the DIP Credit Agreement.

        36.        Payments Held In Trust. Except as expressly permitted in this Final Order or the

DIP Documents, and subject to the Carve-Out, in the event that any person or entity receives any

payment on account of a security interest in DIP Collateral, receives any DIP Collateral or any

proceeds of the DIP Collateral, or receives any other payment with respect thereto from any other

source prior to all DIP Obligations, Adequate Protection Obligations, and Foris Prepetition

Obligations, in accordance with the DIP Documents and the Foris Prepetition Secured Loan

Agreements, such person or entity shall be deemed to have received, and shall hold, any such

payment or proceeds of the DIP Collateral in trust for the benefit of the DIP Secured Parties and

the Foris Prepetition Secured Lenders and shall immediately turn over such proceeds to them in

accordance with their relative priority, or as otherwise instructed by this Court, for application in

accordance with the DIP Credit Agreement, the Foris Prepetition Secured Loan Agreements and

this Final Order.

        37.        Effect of this Final Order. This Final Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable

immediately upon execution hereof.




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        39.        Retention of Jurisdiction. The Court retains exclusive jurisdiction with respect to

all matters arising from or related to the implementation of this Final Order.




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                                   Exhibit A-1

                                   Plan Budget




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Exhibit A-1 (Plan Scenario)



  Amyris, Inc., et al.

                                       Actual      Actual      Actual     Actual      Actual      Actual      Actual      Week 1      Week 2      Week 3      Week 4      Week 5      Week 6      Week 7      Week 8      Week 9      Week 10     Week 11     Week 12     Week 13
  $ thousands                         14-Aug      21-Aug      28-Aug      4-Sep       11-Sep      18-Sep      25-Sep      2-Oct       9-Oct       16-Oct      23-Oct      30-Oct      6-Nov       13-Nov      20-Nov      27-Nov       4-Dec      11-Dec      18-Dec      25-Dec       Total

  Operating cash flows
  Receipts                               1,431       2,900       2,733      2,488       5,230       2,015       1,862       2,594       3,469       3,825       3,825       3,720       4,251       4,251       4,251       4,144        4,729       4,729       2,681       2,681       67,809
  Other receipts                           -           -           -          -           -           -           -           -           -           -           -           -           -         2,000         -           -            -           -           -           480        2,480
  Total Receipts                         1,431       2,900       2,733      2,488       5,230       2,015       1,862       2,594       3,469       3,825       3,825       3,720       4,251       6,251       4,251       4,144        4,729       4,729       2,681       3,161       70,289

  Payments per First day orders            (65)       (476)       (725)       -           (564)     (3,344)       (388)     (2,812)     (2,812)     (2,812)     (2,500)        -           -           -           -           -           -           -           -            -       (16,500)
  Other AP disbursements                (1,072)       (611)       (887)    (2,436)      (1,610)     (1,784)     (2,579)     (3,722)     (3,609)     (5,318)     (8,949)     (8,949)    (10,114)    (10,114)     (9,559)     (9,559)     (4,902)     (4,902)     (4,902)      (4,902)   (100,478)
  Non-Debtor InterCo Dis. for Goods     (3,063)     (2,174)     (2,180)       -            -          (507)        -        (1,434)     (1,434)     (1,434)     (1,434)     (1,434)     (1,741)     (1,741)     (1,741)     (1,741)     (1,741)     (1,349)     (1,349)      (1,829)    (28,325)
  Non-Debtor InterCo Loan               (5,609)     (4,406)     (3,969)    (6,243)      (5,537)     (5,677)     (1,141)     (2,688)     (2,689)     (3,593)     (3,040)     (1,871)     (1,912)     (1,963)     (2,436)     (2,020)     (2,074)     (1,838)     (2,044)      (2,212)    (62,963)
  US Payroll                            (5,780)       (307)     (5,077)      (610)      (4,817)       (349)     (4,817)       (580)     (4,832)        (65)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)       (865)     (4,832)        (65)      (2,832)    (51,318)
  Insurance                                -           -           -          -           (595)        -          (725)        -           -          (212)        -           -           -           -           -           -           -           -           -            -        (1,531)
  Rent                                     -           -           -       (1,412)         -           -           -        (1,469)        -           -           -           -        (1,469)        -           -           -        (2,491)        -           -            -        (6,840)
  Total disbursements                  (15,590)     (7,974)    (12,838)   (10,701)     (13,124)    (11,661)     (9,650)    (12,705)    (15,377)    (13,434)    (15,988)    (17,086)    (16,100)    (18,649)    (13,801)    (18,152)    (12,071)    (12,920)     (8,360)     (11,774)   (267,955)
  Total Operating cash flows           (14,158)     (5,074)    (10,105)     (8,214)     (7,894)     (9,646)     (7,788)    (10,111)    (11,907)     (9,609)    (12,163)    (13,366)    (11,849)    (12,398)     (9,549)    (14,008)     (7,343)     (8,191)     (5,679)      (8,614)   (197,665)

  Financing cash flows
  Financing                             30,000         -        40,000         -           -       23,000          -           -           -       37,000          -           -       35,000          -           -       25,000          -           -           -            -      190,000
  Total financing cash flows            30,000         -        40,000         -           -       23,000          -           -           -       37,000          -           -       35,000          -           -       25,000          -           -           -            -      190,000

  Restructuring costs
  Employee Separation costs               (713)       (103)        -           -           -          (79)        -            -           -          -            -           -          -           -           -            -          (591)        -           -            -        (1,486)
  Board member fees                        (50)        -          (103)        (70)        -          -          (173)         -           -          -            -          (173)       -           -           -           (173)        -           -           -           (173)       (915)
  UST / Court / Deposit fees               -           -          (100)        -           -          -           -            -           -          -           (271)        -          -           -           -            -           -           -           -           (250)       (621)
  KEIP / KERP                              -           -           -           -           -          -           -            -           -          -            -           -          -           -           -           (950)        -           -           -         (4,550)     (5,500)
  Professional fees                        -           -        (2,805)        -        (2,663)      (115)       (740)         -        (4,205)      (939)        (939)       (939)      (886)       (886)       (886)        (886)     (1,050)     (1,050)     (1,025)      (1,025)    (21,035)
  Total Restructuring costs               (763)       (103)     (3,008)        (70)     (2,663)      (194)       (913)         -        (4,205)      (939)      (1,210)     (1,112)      (886)       (886)       (886)      (2,009)     (1,641)     (1,050)     (1,025)      (5,998)    (29,558)

  Net Cash flow                         15,079      (5,177)     26,887      (8,284)    (10,556)    13,161       (8,702)    (10,111)    (16,112)    26,452      (13,373)    (14,478)    22,266      (13,284)    (10,435)     8,984       (8,983)     (9,241)     (6,703)     (14,611)    (37,223)

  Cash roll-forward
  Beginning cash                        10,162      25,240      20,063     46,950       38,667     28,110      41,271       32,569      22,458      6,346       32,798      19,425      4,946       27,212      13,928      3,494       12,477       3,494      (5,747)     (12,450)     10,162
  (+) / (-) Net cash flow               15,079      (5,177)     26,887     (8,284)     (10,556)    13,161      (8,702)     (10,111)    (16,112)    26,452      (13,373)    (14,478)    22,266      (13,284)    (10,435)     8,984       (8,983)     (9,241)     (6,703)     (14,611)    (37,223)
  Ending cash                           25,240      20,063      46,950     38,667       28,110     41,271      32,569       22,458       6,346     32,798       19,425       4,946     27,212       13,928       3,494     12,477        3,494      (5,747)    (12,450)     (27,062)    (27,062)
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                                   Exhibit A-2

                                   Sale Budget




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Exhibit A-2 (Sale Scenario)



  Amyris, Inc., et al.

                                       Actual      Actual      Actual     Actual      Actual      Actual      Actual      Week 1      Week 2      Week 3      Week 4      Week 5      Week 6      Week 7      Week 8      Week 9      Week 10     Week 11     Week 12     Week 13
  $ thousands                         14-Aug      21-Aug      28-Aug      4-Sep       11-Sep      18-Sep      25-Sep      2-Oct       9-Oct       16-Oct      23-Oct      30-Oct      6-Nov       13-Nov      20-Nov      27-Nov       4-Dec      11-Dec      18-Dec      25-Dec       Total

  Operating cash flows
  Receipts                               1,431       2,900       2,733      2,488       5,230       2,015       1,862       2,594       3,469       3,825       3,825       3,720       3,658       3,658       3,658       3,508        3,280       3,184       1,136       1,136       59,311
  Other receipts                           -           -           -          -           -           -           -           -           -           -           -           -           -         2,000         -           -            -           -           -           480        2,480
  Total Receipts                         1,431       2,900       2,733      2,488       5,230       2,015       1,862       2,594       3,469       3,825       3,825       3,720       3,658       5,658       3,658       3,508        3,280       3,184       1,136       1,616       61,791

  Payments per First day orders            (65)       (476)       (725)       -           (564)     (3,344)       (388)     (2,812)     (2,812)     (2,812)     (2,500)        -           -           -           -           -           -           -           -            -       (16,500)
  Other AP disbursements                (1,072)       (611)       (887)    (2,436)      (1,610)     (1,784)     (2,579)     (3,722)     (3,412)     (4,958)     (8,346)     (7,941)     (9,029)     (9,029)     (8,751)     (8,535)     (4,016)     (4,016)     (4,016)      (4,016)    (90,763)
  Non-Debtor InterCo Dis. for Goods     (3,063)     (2,174)     (2,180)       -            -          (507)        -        (1,434)     (1,414)     (1,414)     (1,414)       (988)       (991)       (991)       (991)       (991)       (595)       (514)       (514)        (994)    (21,167)
  Non-Debtor InterCo Loan               (5,609)     (4,406)     (3,969)    (6,243)      (5,537)     (5,677)     (1,141)     (2,688)     (1,151)     (2,054)     (1,502)     (1,513)     (1,309)     (1,361)     (1,834)     (1,418)     (1,057)     (1,117)     (1,323)      (1,491)    (52,400)
  US Payroll                            (5,780)       (307)     (5,077)      (610)      (4,817)       (349)     (4,817)       (580)     (4,832)        (65)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)       (865)     (4,832)        (65)      (4,832)    (53,318)
  Insurance                                -           -           -          -           (595)        -          (725)        -           -          (212)        -           -           -           -           -           -           -           -           -            -        (1,531)
  Rent                                     -           -           -       (1,412)         -           -           -        (1,469)        -           -           -           -        (1,469)        -           -           -        (2,491)        -           -            -        (6,840)
  Total disbursements                  (15,590)     (7,974)    (12,838)   (10,701)     (13,124)    (11,661)     (9,650)    (12,705)    (13,621)    (11,516)    (13,827)    (15,273)    (13,662)    (16,212)    (11,640)    (15,775)     (9,023)    (10,478)     (5,917)     (11,332)   (242,519)
  Total Operating cash flows           (14,158)     (5,074)    (10,105)     (8,214)     (7,894)     (9,646)     (7,788)    (10,111)    (10,151)     (7,691)    (10,002)    (11,553)    (10,004)    (10,554)     (7,983)    (12,267)     (5,743)     (7,294)     (4,781)      (9,716)   (180,728)

  Financing cash flows
  Financing                             30,000         -        40,000         -           -       23,000          -           -           -       37,000          -           -       35,000          -           -       25,000          -           -           -            -      190,000
  Total financing cash flows            30,000         -        40,000         -           -       23,000          -           -           -       37,000          -           -       35,000          -           -       25,000          -           -           -            -      190,000

  Restructuring costs
  Employee Separation costs               (713)       (103)        -           -           -          (79)        -            -           -          -            -           -          -           -           -            -          (591)        -           -            -        (1,486)
  Board member fees                        (50)        -          (103)        (70)        -          -          (173)         -           -          -            -          (173)       -           -           -           (173)        -           -           -           (173)       (915)
  UST / Court / Deposit fees               -           -          (100)        -           -          -           -            -           -          -           (271)        -          -           -           -            -           -           -           -           (250)       (621)
  KEIP / KERP                              -           -           -           -           -          -           -            -           -          -            -           -          -           -           -           (950)        -           -           -         (4,550)     (5,500)
  Professional fees                        -           -        (2,805)        -        (2,663)      (115)       (740)         -        (4,210)      (929)        (929)       (929)      (811)       (811)       (811)        (811)       (893)       (918)       (868)        (868)    (20,110)
  Total Restructuring costs               (763)       (103)     (3,008)        (70)     (2,663)      (194)       (913)         -        (4,210)      (929)      (1,200)     (1,102)      (811)       (811)       (811)      (1,934)     (1,484)       (918)       (868)      (5,841)    (28,633)

  Net Cash flow                         15,079      (5,177)     26,887      (8,284)    (10,556)    13,161       (8,702)    (10,111)    (14,361)    28,380      (11,202)    (12,656)    24,185      (11,364)     (8,793)    10,799       (7,227)     (8,212)     (5,650)     (15,558)    (19,361)

  Cash roll-forward
  Beginning cash                        10,162      25,240      20,063     46,950       38,667     28,110      41,271       32,569      22,458      8,098       36,478      25,276     12,620       36,805     25,441      16,648       27,447      20,220      12,008        6,358      10,162
  (+) / (-) Net cash flow               15,079      (5,177)     26,887     (8,284)     (10,556)    13,161      (8,702)     (10,111)    (14,361)    28,380      (11,202)    (12,656)    24,185      (11,364)    (8,793)     10,799       (7,227)     (8,212)     (5,650)     (15,558)    (19,361)
  Ending cash                           25,240      20,063      46,950     38,667       28,110     41,271      32,569       22,458       8,098     36,478       25,276      12,620     36,805       25,441     16,648      27,447       20,220      12,008       6,358       (9,199)     (9,199)
